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                EXHIBIT 1
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                EXHIBIT 2


EXHIBIT FILED UNDER SEAL
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                                                                                November 6th, 2022

The Honorable Edward J. Davila

United States District Judge

Your Honor:

I am writing this letter to bring your attention to Ramesh Balwani’s personality, character,
generosity, the care he has given to us as his family and philanthropy towards the others. Thank
you for taking time to read this and putting your kind considerations toward what I am providing
here in this letter.

My name is Parkash Balwani, I am Ramesh’s younger brother. I am one of the two of his
younger brothers. I am married to Reeta Balwani and have two kids, a 21-year-old daughter and
a 15 years old son. I live in Cleveland, Ohio and have been working with an IT Company for the
last 20 years.

Our father passed away at a relatively young age in 2000 and since then, Ramesh has done
every bit for our family that a father would do for his children. Even though he is just a few short
years older than my brother and myself, Ramesh is not just our elder brother, he is like a father
figure to us.

Our family comes from generations of farmers and lived in the part of India that later became
part of Pakistan. My father started working at a very young age and we always saw him working
hard all the time and with honesty and integrity. My father was President of a local community
counsel, a social not-for-profit body to help and support those in need and act as an arbitrator to
any family and commercial disputes in the community. Over decades, he paid for the education
of many poor and orphaned children and ran multiple food camps to help the needy.

Being part of a small Hindu minority in Pakistan, it was very challenging to live and prosper in
the 1980s and 1990s. Our family and friends were not safe in Pakistan and that concern
eventually led our family to migrate to India, while Ramesh came to the US.

My parents always wanted the best education for all of us and as a result at a very young age
Ramesh went off to a boarding school. Because of his hard work, he was able to get into a very
well-respected high school. Ramesh was always interested in further education. After his high
school graduation, my parents decided to support Ramesh’s desire to study in the US. My
family did not have the means to pay for his entire college expensem hence Ramesh had to
work long hours to pay for his education.

He has been a huge champion of education in our family. He guided me to pick the right school,
and he supported our younger brother with his education in US. He provided support and
guidance to our next generation including my elder sister's daughters and my younger sister's
son. He has been a guide and coach to my daughter’s education journey, spending hours with
her speaking about her goal, career, ambitions and things that matter to her. He encouraged
and convinced my wife Reeta to make use of her education and start a business and to fight
through her initial challenges in starting her career. He is especially passionate about educating
girls. This passion is not just limited to our family, but he has also supported and funded tuition
fees for the kids of our staff members working for us in India. All his effort, time and financial
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support has been dedicated to ensuring a better and prosperous future for people around him
and us.

Throughout her life my mother always struggled with many serious health issues. She required
blood work regularly and she always suffered for weeks post any lab work. Finding a vein in her
arms to draw blood was always a struggle for lab staff and she always ended up with several
venipunctures from her arms during each visit. Every one of us in our family remembers the
agonizing experiences of our mother’s bruised and blue arms which took weeks to heal after
each lab visit.




Ramesh has never believed in making money as the primary objective for his work. His life is a
living testament to this. Even before joining Theranos, he was involved in giving and sharing. In
1997 while he was still working at Microsoft, he used his limited savings and donated a Xray
machine and its full setup to Maharaj Roop Bhajan Charitable hospital in Amravati, India. This
Hospital provides free service to poor and needy in a very poor neighborhood. Since then, this
hospital has provided free Xray services to thousands of patients and the machines continue to
be operational to this day.

He has been donating to the local Temples and Gurdwara (Hindu & Sikh places of worship) in
India, and locally in the Bay Area for more than 20 years, making sure that whenever he can he
gives back to society. In local temples in Milpitas and Fremont, he supported free food service
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by help build commercial kitchens, that will feed the congregation and needy for years. He is a
regular visitor at local Milpitas Gurdwara where he does service himself; serving food, cleaning
doing other service as needed.

Ramesh has been supporting a young girl orphanage ‘Society of The Helpers of Mary’ in
Mumbai, supporting their shelter, food and education. Every time he visited India, it was a
common ritual for him to take us family to food camps for the poor for many years in poor
neighborhoods near our house in Mumbai. He inherited this ritual from our grandfather who
used to do such services back when we were young. And now that our kids watch Ramesh
doing such service, they are getting ready to take this ahead.

I saw Ramesh putting his life at risk during the H1N1 flu pandemic. At that time, he was working
at Theranos, and traveled to the H1N1 hot zone globally to support his work for Theranos.
Similarly, during COVID global outbreak, even though he was struggling with his own situation,
he did not turn anyone away who asked for help. He supported hundreds of families impacted
by the lockdowns and help support them to overcome those tough times. He donated
wheelchairs through a charity to support people with special needs who otherwise suffered
immensely.

Remarkably, he has done much of his philanthropy anonymously. Even members of our own
family knew close to nothing about how much he has done and how he has helped hundreds if
not thousands of people over the years. It was only recently that we learnt of how he has been
helping so many for so long. What is much more remarkable is that he himself has never kept
any account of who he has helped and how many he has helped.

For many years Ramesh has used his resources for greater good and that is one reason he
believed and invested his money and time in Theranos. Since the time he got involved in
Theranos, he had worked tirelessly and always shared his vision of better and affordable health
for the wider good of others. For him his work at Theranos was in the service of humanity. He
worked for unlimited hours, took few breaks and, to the very last day, accepted little money from
Theranos for the effort, time and money he Invested. Theranos for Ramesh was not just an idea
or startup but something that can move the world in the right direction.

Ramesh’s journey is not yet done, once his current situation is behind him, I have no doubt that
he will be the agent of good that he always has been to hundreds and thousands of people. He
has spent his life helping and caring for others and I pray to the court that he will be allowed to
live the life of a free man so he can continue the path to help thousands more.

Parkash Balwani (                          )



Ph:
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                                                                                  November 6, 2022
The Honorable Edward J. Davila
United States District Judge
Dear Judge,



My name is Rajesh Balwani. I am the youngest brother of Ramesh Balwani. Currently I am
working at Microsoft in the Azure Edge Platform team as a Principal Software engineer. As you
may have noticed during the trial, I was always by his side during the court proceedings and will
continue to do the same. I would like to bring your kind attention as to how his immaculate
character, unwavering support, and valuable guidance has greatly impacted my life and so many
others in the past four decades.

Back in the days our dad, Jhamandas Balwani, always valued education and gave it top priority.
Despite some financial struggles, my parents worked hard to arrange the required funds for
Ramesh to come to the US to get a good education. Ramesh worked extremely hard and never
forgot my parents’ sacrifices. He in turn voluntarily took it upon himself to support our entire
family, and helped me come to the United States.

I started my Undergraduate degree at University of Wisconsin at Madison in the Computer
Science department in 1997 and completed it in 2001. This wouldn’t have been possible without
his unconditional support, guidance, and generosity. He not only provided the much-needed
guidance and advice throughout the four years, but also the required financial support. During
the entire four years of my college all my expenses, including my college fees, food, rental
apartment, and living expenses were taken on by Ramesh alone. He wouldn’t let my parents
sacrifice again for me. He felt it was his obligation to them and to me to do the best for me. He
used a significant chunk of his savings including his bonus and stock options that he had
accumulated over several years for me instead of saving it for his own needs. Even though he
was working hard to establish his own career, he made a big sacrifice for me that changed my
entire life forever. I have closely seen that his nature is to put others first before thinking about
himself. His genuineness to help can be shown by the fact that he never mentioned this favor or
asked me to pay him back to this day.

He gave me all the support and guidance when asked to make sure that I was on the right path to
complete my education successfully. This helped me in preparing and getting my first job at
Ernst & Young during 2001 economic crisis when it was extremely hard to find a job. I followed
the example he had always set for us in the family to work tirelessly and honestly. These values
helped me in getting a job at Microsoft as a Software engineer in 2005. I have continued to work
hard for the last 15 years at Microsoft. By observing his life and values, I learnt there is no
substitute for hard work and honesty. These traits are difficult to cultivate but always pay off in
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the long run. All that I have achieved today is owed primarily to the support and guidance of my
brother.

When our father passed away unexpectedly at a young age in 2000, Ramesh shouldered all the
responsibility for my mother and our entire family. All my mother’s expenses from medical bills
to living expenses etc. were solely handled by him for over two decades. He also made sure we
didn’t have to feel alone after our dad’s passing away and helped us to cope emotionally. He
inherited my father’s foresight, strong work ethics, compassion, values, and motivated us to do
the same. He has been and always will be a father figure for us.

The year 2009 was a crucial year for both Ramesh and me. I was blessed with a daughter and
Ramesh started working for Theranos. Despite his strenuous work schedule at Theranos he was
always there with us as a family trying to share our moments of happiness and be there for me
and my wife.

After that year we were able to convince our mother to visit us more often in the US. Just being
with our mother and caring for her brought him great happiness. He meticulously monitored her
health and tried always to give her the best care. Even though he had very heavy workloads at
Theranos he made sure he spent time with her. There was not a single day that went by without
him calling her and talking to her. He was always there for her.
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Given our mother didn’t have medicare or other health insurance in the US, he paid all her
medical bills. The same surgery could have been performed with the same quality of care in
India for a fraction of the cost, but Ramesh knew our mother would heal better and faster if she
was here in the US with her children and grandchildren. So, he bore all the expenses and gave
her the best care and environment to heal and recover.

During his tenure at Theranos we witnessed that his passion was only to serve a higher cause
with minimum focus on self-benefit.

I remember when he first started at Theranos, it was the peak of the H1N1 global pandemic.
Instead of asking others at the company, Ramesh took upon himself to travel to some of the
riskiest hot zones of the H1N1 virus in India, Thailand and Mexico to help Theranos succeed.
This would be equivalent to someone traveling to Wuhan, China or even New York city during
the peak of the recent covid crisis to conduct research. Our entire family was worried for his
safety. We spoke with him daily during this time to make sure he was safe. He told us he
couldn’t ask others at the company to risk their lives while he sat safely in his office in Palo Alto.
His focus was on work and research at Theranos. He risked his life to spend weeks in hospitals
with people infected with this disease to help further the science that would have helped
Theranos and everyone.

For all the work he did, I know he drew a meager salary and put in endless long hours of work,
day after day, year after year. But that’s the kind of selfless person he has been and continues to
be.

Even though his role at Theranos was demanding, he never faltered fulfilling all the
commitments towards our family. He not only cared for our immediate family but also others
around him as well. Anytime a person needed help, he always helped without hesitation or
expecting any benefit in return.

In 2001, I received a phone call from my high school friend, Humayun Ali, whom I had not seen
for several years. He explained that he had a pressing need and required some immediate
financial help. He shared that he had lost his job in the financial sector and was struggling
financially. He was in dire need of help as his father was seriously ill and my friend had decided
to permanently return to his home country. But at that time, he had no money to buy a ticket to
fly back home.

I didn’t know how I would be able to help him so I reached out to Ramesh as I knew he would
not hesitate to help him and would guide him as he has always done for me. Ramesh at that time
was in New York city and immediately agreed to meet my friend. He had never met my friend in
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the past, but he still had the empathy to understand Humayun’s situation. He patiently listened to
him, advised him, and without hesitation gave him the required financial help so he could buy a
ticket to go home and look after his ailing father. He clearly knew that Humayun may never be
able to ever return this money to him, but that never stopped him from providing this help. We
had lost our father the prior year and my brother knew well what this money meant for my
friend.

Humayun flew back home and today he is supporting his entire family and was able to regain his
job. Without this timely help by Ramesh, he would have not been able to reach home and look
after his father. My friend remembers that kindness to this day.

Over the past three decades I have had the opportunity to help and assist him in serving various
causes. He has provided financial help when needed and volunteered his time at the local temples
and food shelters. His generosity and philanthropist activities have influenced the entire family
and motivated us to give back to others in need. Most importantly, he has always provided help
to others in need while being completely anonymous. Our family members had no knowledge of
how much he has done for others until very recently.

He has been volunteering for kitchen service etc. on Sundays at the local Milpitas Gurudwara
(Sikh temple) for many years. Thousands of people are fed at this Sikh Temple every week. In
2016 Ramesh donated over a hundred thousand dollars to the Sikh temple in Fremont, CA to
help them in construction of a professional kitchen that feeds everyone for free. Later he
provided additional tens of thousands of dollars to the Milpitas Sikh temple for the construction
of another professional kitchen that feeds the congregation and the community. The
contributions would serve the communities in the bay area for decades. I witnessed this impact
during covid when these Sikh temples cooked meals for those in need and provided them for free
to our communities. Remarkably, he provided this help completely anonymously and pleaded
with the trustees to not disclose or even mention his name.

Another contribution of Ramesh’s is his donation for a groundwater well at the location of the
ISKON temple in Milpitas, California. This temple houses an animal shelter in Milpitas. Due to
drought in California, the temple has been struggling with providing water to animals and
watering their pastures to grow grass for the animals. Ramesh paid for the entire project himself.
This solar powered well is expected to pump 30 gallons of high-quality water per minute for
years or decades to come. This well will now contribute towards providing water for the cattle,
fruit orchards and green pastures in the Milpitas Hills for years to come.

Most people are known to show kindness only within their inner circle of affection, but very few
are those that will be anonymous and make a lasting difference in another’s life without thinking
about themselves. Ramesh’s philanthropy and generosity I assure you is of this later kind.

I plead to you to kindly consider his remarkable life of selfless service to others and to endless
causes. I assure you he will continue to be an even more valuable member of society once these
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unfavorable times are behind him. I humbly urge you to kindly show the same compassion to
him that he has shown to thousands of people and beings.

Respectfully.

Rajesh Balwani



Ph:
Email:
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                                                                                November 1, 2022

The Honorable Edward J. Davila
United States District Judge
Your Honor,

I am Sapna Balwani, sister-in-law to Ramesh Balwani. I would like to share with you how
Ramesh’s generosity, his empathic nature and flawless character have influenced my life
positively.

I have known Ramesh Balwani for the past 18 years. I have had the opportunity on several
occasions to observe him as a brother, a son, an uncle, and an exemplary member of society.
When I moved to the US in 2005, he supported me in my initial years, giving me the
unconditional and unwavering financial and emotional support that I needed. In my interactions
he has always shown compassion, empathy, love, respect and integrity in every way without
expecting anything in return.

As a brother to my husband, he has been a great anchor. He has guided him and supported him
just like a father would do for his son.

As an uncle to my 13-year-old daughter Zoe, he has always been very supportive and loving.

                                                                He stood by our family giving us
immense support and guidance. My daughter always takes his advice openly because he
himself lives up to the values he instills in her. He has always inspired us through his own
actions to follow the right path despite difficulties and challenges, and to work hard and never
give up. He has been a great model for our family, always showing us the way.

His nature has always been to help others and contribute to the wellbeing of his loved ones
unconditionally. I saw Ramesh’s deep commitment to Theranos and saw firsthand how hard he
worked tirelessly 7 days a week for so many years. I knew he had lost his father at a relatively
young age because he didn’t get access to accurate diagnostics in time for his care. Ramesh’s
mission in life for so many years became to bring a change so that others don’t lose their loved
ones because of lack of accurate and timely information about their health. For years, he put his
heart and soul into building theranos. For years during the time he worked at Theranos, when
he visited us, we could see that despite his long hours at work, it was this greater calling that
drove him. I know it was never about money for him. Money or financial gains have never ever
been topics of discussion in our family. Our conversations with him about Theranos always
revolved around service to others, sacrifice and making a difference to the lives of others. I
know firsthand the big and central role of God and hard work in his life. I know how much he has
given to his family, community and complete strangers.

An important story very dear to my heart that I would like to share is about my parents visit from
India in 2015.
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                                               There was never a doubt in his mind that the
care they got from Theranos was the best in the world and accurate. My family and I are
eternally grateful to Ramesh for showing such compassion and sensitivity to my family.

I also had the chance to see him care and look after his old and ailing mother for many years
with utmost dedication. When his mother was diagnosed with a life-threatening condition, he
flew her here to the US so he could care for her himself. Though she could have received
medical care in India too, he wanted to make sure he was with her while she recovered from her
surgery. Her care and recovery was his primary purpose for many months until with the grace of
God she healed and recovered back to health.

I have also witnessed firsthand that he has been extremely generous with his money and time
and gone out of his way to help whenever he was given the chance. I have never seen him
hesitate to help a person in need. It was probably this philanthropic nature of his that fueled his
passion to work endless hours at Theranos. Every cause that he contributes to is not a random
donation but a long-standing commitment to make a difference. One such cause that I am
aware of is his contribution to an Orphanage in Mumbai India for the past 2 decades. His
contributions have made a difference in the lives of countless orphaned girls. His frequent
contributions include providing food at the orphanage and meeting their required needs for
school. With financial aid, advice and a help I have seen him console and bring back lives of so
many that I have found it near impossible to keep track.

I assure you that such a caring, hardworking, righteous, and truthful individual will only add
value to our society. I humbly request you to consider his contributions and faith and dedication
to building Theranos and kindly show utmost leniency in his case.

Thanking you for your patience and time,

Yours truly,
Sapna Balwani.
                    ,

Ph:
Email:
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The Honorable Edward J. Davila
United States District Judge
United States Courthouse
280 South 1 st Street San
Jose, CA 95113



Dear Judge Davila,

          I worked at Theranos for many years and reported directly to Sunny. He interviewed me
personally, which is something he did for all new hires, even though the company had over 100
employees when I started. I was impressed that Sunny took the time, as COO, to interview each
individual candidate himself, whether they were being hired for a leadership role or an entry level
position. This interview was my first interaction with him and I understood right away how much he
cared about the company. He spoke about the company’s mission and expressed that the most important
criteria for my role was to find someone who would be empathetic to Theranos’ patients, because
providing a good experience for our customers was his biggest priority.

         During my time at Theranos, he made it clear that everything we were working on - a software
application, a new patient workflow, a training, etc.- should always have the patient experience in mind.
On multiple occasions, Sunny offered to speak to patients and physicians directly to listen to their
concerns, requested house visits for patients that couldn’t make it to one of our locations, and constantly
asked for feedback on our in-house software to ensure it addressed the needs of employees and
customers. Although I wasn’t always privy to the decisions being made across the company, in my
experience, it was clear that Sunny was doing everything in his power to make our mission a reality. If he
was ever strict or upset, it was because he cared deeply about the issue and expected more from our teams
in order to come up with solutions.

        Sunny was always very kind to me as an employee and went out of his way on multiple occasions
to check in and make sure that my team and I had everything we needed to be successful, both personally
and professionally. He ensured that people who expressed interest in growing professionally at the
company had the opportunity to do so, and personally arranged to have employees move into the teams
and roles that they aspired to be in.

        I hope this letter provides a small glimpse into the perspective of a former coworker. From my
perspective, Sunny always had the best intentions when it came to Theranos. I hope that you take this into
consideration while making your decision.



Sincerely,
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                                                                                 September 1, 2022
The Honorable Edward J. Davila

United States District Judge



Respected Sir,



I am Raju Kumar and I have been affiliated with Ramesh Balwani’s family in India for more
than 20 years. Ramesh’s family trusted me, gave me a job and supported me at a very young age.
This enabled me to survive in the city and send back money to my family in the village so that
they could meet their basic needs. His support enabled me to secure a bright future for my full
family.

From the very beginning, Ramesh Balwani has always helped me and been my benefactor. My
father passed away when I was very young and Ramesh was a huge help and support during
those difficult times. I remember when I told him about my fathers’ passing away, he gave me a
hug and told me that he was there for me as my father. And he has always treated me like that
ever since. He took care of all my needs and encouraged me to learn to read and write. He
coached me about the importance of education in the modern world and always insisted that I
must educate my children.

He made sure that I gave top priority to my children and especially their education. He created a
supportive environment, and just like a father figure would do, he made sure that we educate our
kids so that they can stand on their own two feet and have a brighter future .

He made sure my daughter’s school fees are paid and even sent her a laptop from the USA. My
little girl adores him and knows him very well even though she has not met him. In September
every year, there is a festival celebrating the Goddess Mother (Durga) where my daughter offers
prayers for Ramesh's well-being for nine days. She ardently prays for his safety and health. She
is aware that his generous contributions have shaped her life.
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We come from a very poor background where educating a girl child was not very common. But
today because of Ramesh’s help, educating my daughter will have a positive effect on the entire
generation to come. It is very true that “If you educate a boy, you educate one person. If you
educate a girl, you educate an entire community.” He continues to support my children’s
education by paying for them, their books and other needs.
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His timely help gives me hope that my children will become well rounded individuals who will
be able to make a better contribution to this world and have a better life.


I would like to mention that he even helped me with a water connection and water pump for my
family in my village home, which has touched and improved the life of so many villagers in my
community. My family has had access to clear drinking water for decades thanks to the love and
care of Ramesh.

He has a big heart and has always helped me through the years. His help has not only helped me
but has uplifted my entire family and our future generations to come.

He is and will always be in our prayers.



Regards,
Raju


                                 India
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The Honorable Edward J. Davila
United States District Judge
United States Courthouse
280 South 1st Street
San Jose, CA 95113

Dear Judge Davila:

I worked for Sunny Balwani for two years for as an employee at Theranos. I was a
software product manager at the company, working on various parts of Theranos’
proprietary software platform that enabled a seamless wellness experience for patients.

Working at Theranos was a dream come true for me. I am a person who has always
looked to make a positive impact in the world. Theranos was a place where I could not
only grow my professional skills but do it for a mission that spoke deeply to me and the
people who worked there. I was surrounded by people who were smart and passionate
about our mission: making healthcare accessible. Going to work every day was
exhilarating. Knowing that whatever work we put in the outcome would be transforming
patient access to health. Making a real difference for real people was exciting and
pushed us beyond our limits – how could it not? As someone who worked with Sunny, it
was clear to me that no one else in the company wanted more or put in more time to
make the mission (our collective dream) a reality than Sunny.

When I first met Sunny, in a dim interview room in an old and unassuming building, he
painted a picture of a company that – if successful – would make an extraordinary
impact on people’s health and the planet. He set the expectation that we would work
hard and commit ourselves to success, and as a result we would be changing the world
for the better.

My first year at Theranos I had the privilege to develop a strong and trusted relationship
with Sunny – based on work ethic and our mutual desire to always do the right thing for
the mission. While I had no purview into what was happening in other parts of the
organization – I saw that the daily decisions that were being made for our patient
software was centered around patient access and safety. Whether it was an app to
make the check-in experience smoother, or for the safety of our phlebotomists.

Sunny was an innovator, he wanted our software to be best-in-class, so we built it from
the ground up. Day in and day out, he spent countless hours with us dreaming up
software systems that would revolutionize the way patients could access care. He cared
deeply about what products were launched and how well they worked. He pushed the
limits of what we thought we were capable of. We got to work whiteboarding our
systems.
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One of Sunny’s proudest achievements was holding low prices for patients – a key pillar
in making health information accessible to patients. I clearly remember early in my
experience on the software team. I stepped into Sunny’s room for a scheduled meeting
Sunny was visibly upset from a meeting he had just finished with a hospital
administrative leader. He spent the first ten minutes of our meeting apologizing for being
ruffled. He went on to explain that he had been made upset that a hospital system
would come to him looking to use our systems for their own profit by up charging
patients for our services.

We all worked hard and pushed our own limit, yet in comparison Sunny was tireless. He
spent day and night in the offices. He tended to be the first in the door and the last to
leave. While the rest of us went home to our friends and families – Sunny’s family and
home was Theranos.

He was not the perfect leader. His passion and emotion could get in the way of
productivity. But from my vantage point, I saw that passionate enthusiasm as his way of
pushing us hard to get the best out of his teams because he believed we could be the
best. I like to believe that the reason my team was able to execute and launch software
successfully was because I could see beyond his emotion and translate his vision into
tactics. We had built trust.

It’s easy to look back and think of our time at Theranos as flawed and perhaps naïve
(hindsight is 20/20). But making health accessible was our mission, and making that
dream come true was our purpose. That couldn’t have been truer for anyone than for
Sunny. Because when what’s on the line is making the world better for more people –
who wouldn’t give everything for that mission?

Judge Davila, as you make your decision, I ask that you take a moment to consider
what Sunny was to someone who knew him day in and day out at Theranos. A leader
whose passion was palpable in pushing us to make a change we desperately wanted to
see happen.

Thank you,
M
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Malini

Honorable Sir,


My family does community as feeding and rescuing stray animals in Chennai India. This
work began when I was in the seventh-grade and brought home and cared for a sick
dog. Since then my family now takes care of over 65 dogs in our neighborhood of
Koyambedu. My mother prepares a nutritious meal of chicken, liver, rice and boiled
eggs every day after which, my parents personally go for feeding the dogs between 1
am and 5:45 am once the traffic has died down and the animals come out. It can be
very demanding on the physical, mental and financial resources. We also vaccinate,
sterilize and medically assists the dogs.


Funding to support our work is critical and hard to come by. Mr. Ramesh Balwani found out
about our efforts during COVID and donated funds in April 2020 to my family's community
service work of feeding stray dogs in Chennai, India.


The money donated by Mr. Balwani was initially used to feed the hungry abandoned
dogs. He not only provided funds but also communicated regularly with my mother to
check in as you can see from the messages below.
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During this process he found out about a dog we regularly feed, whose leg was run over
by a car. He made immediate funds available so we could treat the dog and help the
dog heal and recover. Some of it was also used for regular feeding. The dog's lef was
operated upon and treated. He was boarded at the veterinarian until it recovered and it
underwent hydrotherapy to regain mobility.
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Our work is only possible due to the support of kind hearted benefactors like Mr.
Balwani and we are very grateful for his support. He has prayers of many of these
innocent animals with him.


Yours sincerely,
Hamsa Mukund.
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November 4th 2022
The Honorable Edward J. Davila
United States District Judge
Respected Judge,
My name is Dipali Nain, and I am Ramesh Balwani’s eldest sister. I am writing today to
give you an insight into Ramesh character and request you to show him the same
compassion that he has shown to every person around him.
My brother is a generous, kind person who has always been a philanthropist and helped
people in need. It is this drive to help others that led him to Theranos.
We come from a community of Hindus who were greatly impacted by the partition of
India in 1947 between India and Pakistan. Much of our community migrated to India
around those years but many families were split between two countries. Ours was one
such family. Our community has gone through many hardships - most people had to
leave all their possessions and move to India when India and Pakistan were partitioned
since they belong to Hindu minority. My grandparents and parents lived in the areas
which became part of Pakistan but struggled immensely for their safety. Despite their
struggles they made sure that families that depended on them or were in need were
taken care of and Ramesh imbibed the same values.
I am very proud sister, for what Ramesh has achieved academically and at work. He
has always been brilliant in education and performed great at school and college. My
father knew Ramesh’s capabilities and potential to excel, hence when he finished his
high school in 1980s, my father supported Ramesh’s decision to pursue higher
education in the US. Even though we were all sad to see him go so far away, we were
also very happy for him because we knew how much he valued education and wanted
to be in a position to support others.
Since early in his career, even when he was just starting out and struggling himself, he
made sure if anyone was in need he would help. His generosity included sponsoring
beds for homeless senior citizens in old age homes, helping poor with wheelchairs,
sponsoring the education of girl children and installing water pumps in poor villages and
giving needy families cattle for their livelihood.
I personally also benefited a lot from Ramesh's hard work ethic and compassion and
generosity. Not only was he a role model for helping others, but he also helped me with
my daughters' education. My daughters could only pursue higher studies because of his
advice, generosity and financial support. He was generous with his time and mentored
them and gave them career advice. This support means a lot since girls from our
community typically didn’t pursue higher education or careers. Ramesh’s passion for
technology and belief in it for change was inspiring. My daughters followed his footsteps
and chose careers which were focused on contributing to society. Letters from my two
daughter Rashmi Nain and karuna Nain are also part of this submissions and you can
see how they have contributed to the betterment of the world through their work. I am
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happy to see my daughters following Ramesh and my parent’s foot steps by
contributing to broader society in their career and outside.
When Ramesh joined Theranos he was energized and passionate about the chance to
develop a technology that could benefit mankind. Ramesh had been sharing his vision
for the technology that Theranos was building over the years with the whole family. He
believed it will benefit poor communities in our villages in Pakistan and in India
immensely. His believe in the technology Theranos was developing was so strong that
he used Theranos labs for my mother’s medical care.
Ramesh also helped save my husband's life. We were visiting my younger daughter,
Karuna Nain (my daughter) in the United States when my husband got very sick. My
husband was hospitalized in emergency care. After performing many tests and analysis
the physicians and specialists informed us that his life was at serious risk and told us to
say our last goodbyes to him. Ramesh did not leave my side for a second. He gave us
guidance and helped us understand our options, and with his support and advice my
husband is still alive and healthy today. I am deeply grateful for Ramesh’s guidance and
his support during that very difficult time.
I plead to you to keep his kindness, compassion and intention to only serve through
Theranos in mind as you deliberate and decide and plead for my brother’s life and
freedom.
Thank you,
Dipali Nain



          India
Email:
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                                                                                      November 1, 2022

The Honorable Edward J. Davila

United States District Judge

Respected Judge Davila,

My name is Karuna Nain. I am Ramesh Balwani’s niece (his eldest sister Dipali Nain‘s younger daughter).
I am 42 years old and I have spent the last decade of my life focusing on building projects to make
women and children safer. I recently retired as Director of Safety Policy at Meta (formerly known as
Facebook) where I developed programs with other members of industry, non-profits and academics to
promote online safety on issues of child protection, well-being, women’s safety, non-consensual
intimate image abuse and suicide and self injury. For example, last December, I launched StopNCII.org
with UK Revenge Porn Helpline and over 50 nonprofits, victim support organizations and academics
around the world to help people who are concerned that their Internet images will be shared without
their consent online to get them proactively flagged for platforms so that platforms such as Facebook
can keep a lookout for them and ensure that if the content violates their policies is not shared on their
services. This program is built keeping victims at the center of the design - 1/ victims don’t need to share
their photos and videos, they can hash / create a digital fingerprint at the browser level and share those
with platforms 2/ it removes the burden on victims by giving them a one stop shop to work with
multiple platforms. I am working with the National Center for Missing and Exploited Children (NCMEC)
to launch a similar solution for minor victims of sextortion. I previously redesigned NCMEC’s case
management tool which is used globally to transmit cybertips sent by electronic service providers and
people at large to various governments around the world so that law-enforcement can effectively
prioritize and triage those reports and get children help urgently when needed. Prior to this I worked at
the State Department as a Public Affairs Specialist at the US Embassy in India where I coordinated with
alumni of US Government sponsored exchange programs and gave grants for them to implement
projects inspired by their exchange experience to benefit their communities in India, Bhutan and among
the Tibetan communities exiled in India.

I owe my career and work largely to Ramesh’s generosity and encouragement.

My uncle was the first member of our family to pursue a higher education. In traditional Indian families,
girls typically got married at young age and raised families. However, my parents wanted my sister and
me to get educated. We all wanted to follow on Ramesh’s footsteps. Seeing Ramesh’s work ethic, I too
wanted to get an education, be successful and give back to my community. He was a role model for me,
my sister and cousins.

I don’t remember Ramesh bragging about his giving, helping and community building efforts. He has
never ever spoken about his contributions to others. It was always my maternal grandmother, his
mother, and other members of family who would tell us how he sponsored building of water pumps in
the village here and some other project in some village there. In the rural areas where our family
originally hails from, these philanthropic projects can sometimes become lifelines for people living
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there. Even though he moved to the US and all of our families moved to the cities, Ramesh didn’t forget
the people living in the communities we left decades ago.

Ramesh not just encouraged us through his philanthropy in the community at large, but he also ensured
that everyone in the family had the means to get a high-quality education. He funded my Master’s
education and made it possible for me to pursue my Masters in Sociology in Germany. I received a
partial scholarship from DAAD (the German Academic Exchange Service) and he helped me with
remaining and my living costs. I owe my career to his belief and investment in me.

I have seen Ramesh dedicate endless hours to his work over the years and when he joined Theranos, he
doubled those efforts. We hardly ever saw him since he was working 24x7 and when we did meet him,
he would talk with passion about how he believed that this technology would revolutionize the lives of
people around the world who otherwise struggled to get accurate results for blood tests, often leading
to catastrophic results. Ramesh genuinely believes in the power of technology to positively impact the
lives of people in need.

I am also deeply indebted to Ramesh for saving my father’s life. A few years back, when I was living in
the US for my work, my father got critically ill while visiting me. His condition deteriorated overnight and
doctors told us to say our goodbyes. Ramesh never left my side and counseled me through the tough
decisions I had to make. It was due to his guidance that my father is alive and well today.

Ramesh believes strongly in hard work and giving back to the community. Even during this difficult
period, he has continued to contribute to the community — he has lost everything due to his high legal
expenses but never turns away anyone who needs help. He himself lives a very simple life. Once he is on
the other side of this chapter of his life, he will continue to work for the betterment of people in need
and positively contribute to society. I humbly urge you to please consider his life’s work on helping
others and his strong track record of community service as you make the decisions that will impact his
and our lives.

Thank you,

Karuna Nain



          India
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                                                                                         November 1, 2022

The Honorable Edward J. Davila

United States District Judge

Dear sir

My name is Nirmal Nain. I am the eldest brother-in-law of Ramesh Balwani. I am married to his eldest
sister Dipali Nain. I am a retired 70 year old male who lives in India. I retired after a long career in the
tea trade and now live in the Himalayas where I give back to my local community through charitable
projects.

I am writing to you to plead to you for compassion and leniency for my brother in law. I cannot share
enough how indebted I am to Ramesh. I would not be here today writing this letter if it weren’t for his
kind support. Over five years ago I suddenly became very ill and was diagnosed with end-stage liver
disease when I was visiting my daughter in the US and doctors declared me critical. My family was asked
to say their goodbyes to me. They leaned heavily on Ramesh for guidance and support. Ramesh did not
leave their side for even a second. It was due to his guidance that I am now alive and leading a healthy
life and have had a good life all thanks to him. I am deeply grateful to him for being by our side during
our darkest hours.

I am also grateful to Ramesh because of him my daughters managed to get higher education. He was
generous and funded their higher education, their masters studies. Because of him my daughters went
on to get good careers and good jobs. He supported them. He gave them guidance. Counseling them
patiently even though he was very busy and had a lot going on he always had time to take their phone
call and tell them what is the correct path but also what is going on in the United States and how they
could have bigger careers. It was due to him that my daughters are now successful and they also
empower me to give back to the community that I live in and they make sure that I am able to give to
the poor people around us meals, clothes, stationary. Ramesh's kindness has had a ripple effect. My
daughters were able to build remarkably successful careers and are now pillars of our community and
make sure they give back to their communities they live in.

I plead to you to show compassion. Ramesh can be a constructive citizen and has a lot more to give back
to the world around him as a free man.

Thank you

Nirmal Nain

           India
Phone:
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                                                                                      November 1, 2022

The Honorable Edward J. Davila

United States District Judge

Dear judge,

My name is Rashmi Nain. I am Ramesh Balwani’s niece (elder sister Dipali Nain’s eldest daughter). I am
44 years old and I’m currently working with Standard & Poor’s Market intelligence division (based in
Hong Kong) as an executive Director & Head of Asia for economics & country risk consulting. As a
development consultant, over the past 20 years I have focused on public private partnership policy
support and developing project financing mechanisms that enable government agencies to develop
infrastructure assets such as power, transportation, water and sanitation, etc. My work such as - a.
helping the government of Indonesia in operationalising the infrastructure guarantee fund and b.
Development of the government of Mozambique road sector PPP policy and funding plan has typically
been directly or indirectly sponsored by multilateral agencies such as the world bank and Asian
development bank. I have experience in working in close to 20 developing countries across Asia and
Africa including some challenging environments/ periods such as working with the government of Sierra
Leone around the time of the Ebola outbreak in 2013-2016.

My career was only made possible by the mentorship and invaluable financial assistance offered to my
family and myself by Ramesh Balwani. He paid a significant part of my college fees, gave me my first
laptop when I was a kid so that I could complete my project assignments, and also took out the time to
help mentor me. As the first-born girl child in my generation, coming from a traditional community
pursuing a masters degree and then pursuing a high intensity career was not something that was
commonplace. My uncle constantly helped introduce options, encouraged me and my family to open
our minds to new things and also gave monetary support.

My grandmother would talk about how hard Ramesh was working, how generous he was to those less
fortunate throughout my childhood. I too saw how passionate and disciplined he was and this inspired
me to work harder and do better. Due to the partition between India and Pakistan our community has
been scattered across different parts of the world. Our family found ourselves in India, Pakistan, Ireland
and the United States. Ramesh would make a conscious effort to plan family gatherings for all of us to
get together and share family stories so that we would keep a culture alive.

Ramesh is a remarkable human being who has positively impacted the lives of dozens I know and
thousands of others that he has helped anonymously or through foundations temples and orphanages.
His has been a life of purpose and kindness to others. I plead with you to please consider his generosity
to his family as well as his larger community.

Rashmi Nain

          India
Email –
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                                                                                 September 1, 2022

The Honorable Edward J. Davila

United States District Judge



Respected Sir,

I, Manoj Paswan, am writing to share how Ramesh Balwani has impacted my life and the life of
my community and village. I originally come from a small village in Bihar, India.


Ramesh is a very good man. I hail from a poor family and Ramesh gave me a job. My village did
not have any running drinking water. When I mentioned this to Ramesh he helped with
financial support to install water pumps in our village. For more than a decade now, so many in
my village use those pumps to get drinking water. These pumps now feed numerous children
and families and livestock in the village. He always felt connected to our village life and made
his best effort to give us a better means of living.


My family also had no means of livelihood. For a poor family like ours dairy and farming is the
only means of sustenance. Ramesh also bought us cattle that has been the lifeline for us. The
milk from the cow provides nutrition to the family members and we can sell the excess for
income. The fodder for the cattle and all the expenses associated with the cattle are also taken
care of by Ramesh for years.

People say there is no God but for me, Ramesh is no less than a God because he has taken such
care of my family and my entire village drinks from the water pumps he has built for us.
Continual upkeep of the water pumps and other expenses for the pump are also borne by
Ramesh without any hesitation.

He even helps other poor people in my village when they are in need, so everyone keeps him in
their prayers.
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For us he is no less than God. I speak not just on behalf of me and my family, but my entire
village who is keeping him in their prayers.


Regards,
Manoj Paswan



           , Mumbai        India
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November 5, 2022

The Honorable Edward J. Davila

United States District Judge

Respected Judge,



I am Rupa Parwani, Ramesh Balwani’s older sister. I live in Mumbai, India with my husband. I run my
own small business.

Due to the proximity in our ages, Ramesh and I were extremely close growing up. I saw him grow up
when we were still children. From a very young age, he was a responsible person. He was barely six or
seven years of age when he started bringing honors and other prizes for his excellence in education and
especially in mathematics. Even back then, he worked hard and had never needed to be reminded or
forced to be responsible towards his studies. He stayed up late studying until he was satisfied with his
work. My grandfather used to often point at him and tell others that Ramesh was proof that there was
no shortcut to success. Even in a family of workaholics, Ramesh set a high bar.

I was married early and my marriage was a challenging one. Through it all – even though he himself was
a teenager back then - Ramesh was always my biggest supporter and encouraged me to gain economic
independence and build my own life. Due to his encouragement and support I started a business and
gained financial independence. Over the years, as my business got established, I decided to expand and
took out a loan to help my business grow. I soon got caught in a cycle of debt because of astronomically
high interest rates charged to women-owned businesses back then. Ramesh himself had just started
working and I knew he was also building his own life. Still, he gave me money from his savings so I could
pay off my debt to get out of that negative cycle. I would not have been able to grow my business and
become independent if it weren’t for this support. Since then, that business has enabled me to buy my
own home, have a good life and help others.

Our grandfather and father were strong proponents of giving back to the community and helping those
less fortunate. Ramesh spent a lot of time growing up with our grandfather and observed his
philanthropic activities for the community. Over the years, Ramesh has often channeled his charitable
work in India thru me. I have two young men, Raju Kumar and Manoj Paswan, who help with my
business and other chores. They come from extremely poor backgrounds. Ramesh gave me funds so I
could buy both of them cattle so their families in their villages have supplemental income by selling milk
and can fund their children’s educations. He also donated water pumps in our ancestral villages in
Pakistan and the villages here in India. These pumps have transformed the lives of the communities
living there as they now have access to clean drinking water, reducing diseases and social inequality.
Ramesh also donated laptops to their children so they can get a high-quality education.

Ramesh has also been a long-standing sponsor of a local girls orphanage in Mumbai where every year on
Diwali and Christmas he gifts new clothes to girls. His sponsorship has continued for over a decade. He
made sure the girls could celebrate their birthdays - he gave me money so I could prepare food and take
it for them and gifted books and stationery to the girls. He has made regular donations to an elderly care
home in Mumbai for many years where he has provided support to the elderly who lose their homes
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and families. Be it paying for comfortable beds for abandoned seniors in old age homes, paying for
weddings of orphan girls or funding for paraplegic artists, Ramesh has never turned anyone away.

Ramesh always made sure my parents had the best medical care and support. When my mother had
serious life-threatening health issues, he flew her to the US to ensure she had the best medical care.
Post-surgery, all of our mother’s blood tests were done at the Theranos Lab because he believed in the
results.




Ramesh truly believed in the mission and technology of Theranos and that it would be life changing for
people in need. There is no greater evidence of that then trusting his own family’s health for so many
years to Theranos technology and employees. During his tenure at Theranos we witnessed that his
passion was only to serve a higher cause with minimum focus on self-interest. He is a man of integrity
and has lived a life of caring for others and he put his heart and soul and his money into Theranos
because he believed this was a worthwhile cause, not just a business. I know my brother had enough
money that he did not have to work for a single day in his life again. He could have lived a most
comfortable life in the US and certainly here in India or anywhere else he chose to. But instead he
worked day and night, barely took a day off, sacrificed his health, invested his life’s saving into Theranos
– and asked little or nothing in return. This is exactly the kind of man he is, the kind of little brother I
knew when we were growing up. Success didn’t change his caring nature. It didn’t make him different.
Neither have all the enormous challenges he has faced since 2015. He continues to help others. He
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continues to demonstrate infinite faith in God and His justice. He remains a man of compassion. I pray
that you will take into account his remarkable life of service and caring when you make your decision.



Gratefully yours

Rupa Parwani



Mumbai

Ph: +

email:
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From:           Naeem Zamindar
Profile:        Founder of Neem Exponential, Art of Living Foundation teacher of the Happiness
                Program and Silent Retreats; and Global Advisor to Acumen, NYC
Former:         Lead Advisor to the Worldbank, Chairman Board of Investment of Government
                of Pakistan, CEO Acumen Pakistan, CEO of Wateen (Publicly listed), CSO of
                Mobilink, Senior Investment Manager at Intel Capital, KPMG
Qualifications: MBA from INSEAD, CPA (no longer certified), BBA from University of Texas at
Austin
Date:           November 30, 2022


To:
The Honorable Edward J. Davila
United States District Judge

Dear Judge Davila:

I have known Sunny Balwani since 1987 (35 years ago) from our time at University of Texas at
Austin, where we were both studying and living in the same apartment complex. He has always
been a very sincere, friendly, positive, intelligent, and helpful friend. He is a very spiritual
human being whose values align with my Sufi spiritual leanings. I also loved his deep insight, his
poetic sense, ability to quote and engage many scriptures. He is a beautiful human being, who I
have learned to love as a true friend.

I graduated before him and moved to the Bay Area and motivated him to move to California. I
still remember him wanting a job at Lotus Consulting. He was so confident in his skills and
ability to contribute that he offered to work for the company for free until they were convinced
that he was adding value. The company hired him and he went on to accomplish great things in
his career over the years.

In 1999 he started his own tech company. He invited me to join him, but I was starting my MBA
program at INSEAD, a very prestigious school in France, and didn’t want to miss that
opportunity. Some time later while I was in the MBA program, he sold his company and came
over to visit me Fontainebleau, France and it was great to re-connect. At that time he had
become an entrepreneurial inspiration.

After my MBA, I joined Intel Capital, moving back to the Bay Area in Sept. 2000, where we
reconnected and formed an even deeper friendship. During this period he went back to school
first to Berkeley and then to Stanford where he met Elizabeth. We saw how much they loved
each other and how he supporting they were of each other. He truly loved Elizabeth and
wanted her to succeed in her mission and held her in the highest regards. I saw him giving his
best to her in a very positive manner, leveraging his experience as a successful entrepreneur.
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I got involved with the Art of Living Foundation, a movement to bring peace and self-realization
to individuals, to enable an enlightened society. It changed my life dramatically (including being
a vegetarian, teetotaler, quit smoking, etc.) and I became a teacher of these programs, and in
March 2004, I decided to move back to Pakistan and become a full-time teacher and serve
society. But I did return to visit Sunny once in 2011 and again in 2012 with my wife. Both
times the two of them were gracious hosts and we really enjoyed ourselves. When we stayed
at their home, we barely saw them and there was barely any furniture in the house. Both of
them were working 7 days a week and 16 hours a day to make Theranos a success and did not
even have the time to buy furniture for the drawing room. I was so happy for my friend as he
was excited about the work he was doing and so happy with his life partner at that time.

In 2014, I had trouble from the Taliban, as I had been put on their hit list because I was teaching
meditation which they thought I was doing in an un-Islamic way. So I came over to the USA for
a bit and he welcomed me and told me not to worry as he knew a lot of people in the valley and
would help me get a job. I decided not to stay and returned to Pakistan after a month.

I know him over 35 years of active engagement, exchanging money, sharing gifts and time,
serving others, he has always been outstanding and a sincere man who lives from the highest
levels of integrity. I know that he was sincere with his mission to enable Theranos and had put
his own money in the company. During this time when I was going through health challenges,
he suggested using the Theranos lab and I used that every time. My results were fully
consistent with those that I got done from other labs later on.

I know that my friend worked with utmost dedication, behaved with sincerity and integrity as
he has for decades that I have known him; and that he was committed to building a game
changing health care company. Sunny & I have dozens of friends in common and everyone who
knows him stands by him and his integrity.

I respectfully ask this honorable court to consider his long life of hard work and dedication to
service in reaching its decision.

Humbly submitted.

Naeem Zamindar.
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                                                                                  October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

     I'm R. Prabhu, I reside at Thoraipakkam in Tamil Nadu, India. I'm a handicapped person. I
have been struggling so much with this disorder as I wasn't able to walk or move freely. Traveling
on public transit was very challenging. I was in need of assistance to move. I was considered a
burden in my house. I wasn't capable of doing anything on my own. I was feeling shattered and
broken.

     I was in need of a helping hand. I approached the Tamil Nadu Differently Abled Federation
Charitable Trust for assistance. Through the sponsorship of Mr. Ramesh Balwani, I received a
wheelchair. It was extremely helpful for me. Now I'm able to move without anyone's help.

     I'm able to do things by myself. I'm very happy with the new wheelchair. I feel very
independent now. I can go to places alone. I feel like I'm no longer a burden. I can go to work, the
supermarket, meet people and go other places i wish.




       I'm extremely grateful to the Mr. Ramesh Balwani and the Tamilnadu Differently Abled
Federation Charitable Trust. I'm forever thankful for this wheelchair. People in developed
countries cannot understand how a wheelchair can change the life of someone from a poor
neighborhood in a developing country. This wheelchair brought a new meaning to my life.

                                                                                      Respectfully,


                                                                                        R.Prabhu
                                                                   No 24/62, ezhil nagar, oggium,
                                                                          Thoraipakkam, chennai
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I'm Mahadevi.I reside at oggium, Thoraipakkamin South India. I'm physically handicapped
person.I struggle every day to do my daily activities. I cannot walk or stand without the aid of
other people. I have been dependent on others since birth. I face a lot of challenges in my day to
day life. No one is ready to provide me work. I couldn't find any source of income. I had to depend
on others for financial support. I feel helpless as I couldn't support my family in meeting living
expenses. I felt so isolated in society. There was no one to support me.

          Through some sources I came to know about the tndfc trust. I approached them for help.
They provided me with great care and support. They gave me a wheelchair sponsored by Mr.
Ramesh Balwani. This literally changed my life. I no longer had to depend on anyone to do my
things. It is extremely useful. I can go wherever I wish and do whatever I want. I don't feel stagnant
now. I can work and earn income. I feel so happy in receiving this help from the trust.




    I am very sincerely grateful to Mr. Ramesh Balwani for this assistance. This wheelchair has
made my livelihood much better. Thank You so much for making me independent.
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                                                              Respectfully,



                                                                Mahadevi.

                                                     Oggium, Thoraipakkam
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:


        I'm V. Balamurugan. I reside at Thuraipakkam in Tamil Nadu in South India. I'm a
Locomotor Disabled person. I wasn't able to move around without any assistance. I faced
challenges not only in mobility but also faced a lot of other obstacles in life. I couldn't go to work
to support my family. I was helpless when my family faced financial issues. Literally I was like a
burden to my family. I could not get around or do anything on my own. I felt discriminated against
in society. I felt isolated. I approached the Tamilnadu Differently Abled Federation Charitable
Trust. for helping me.

      Through the generosity of Mr. Ramesh Balwani, I received a wheelchair. I'm very thankful
for this assistance. I'm able to move freely indoors and outdoors. I can do small works, earn
income and support my family now. I can do my things by myself.




       I'm extremely thankful to Mr. Ramesh Balwani and the Tamilnadu Differently abled
federation charitable trust for their selfless support. I extend my sincere gratitude for this
wheelchair - you cannot imagine how it has changed my life.

                                                                                        Respectfully,



                                                                                     V.Balamurugan

                                                                           No 9881, Kannagi nagar,

                                                                   oggium, Thuraipakkam, Chennai
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The Honorable Edward J. Davila
United States District Judge

Your Honor:


        Hi Sir, my name is M.Murugan. I reside in South India. I'm a handicapped person. I have
been struggling so much with this disorder as I wasn't able to walk or move freely. traveling on
public transit was very challenging. I was in need of assistance to move. I wasn't capable of doing
anything on my own.

      I approached The Tamilnadu Differently Abled Federation Charitable Trust for assistance.
Through a kind support from Mr. Ramesh Balwani I received a wheelchair in donation. It has
changed my life and is extremely helpful for me. Now I'm able to move without anyone's help.

       I'm able to do things by myself. I'm very happy with the new wheelchair. I feel very
independent now. I can go to places alone,meet my friends, get work done and go to other places
i only read about in books.




       I'm extremely thankful to Ramesh Balwani for this huge support. I was obliged and grateful
for this help.

                                                                                     Respectfully,



                                                                                       M.Murugan

                                                                         No13/39, Kannagi nagar,

                                                                 oggium, Thuraipakkam, Chennai
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The Honorable Edward J. Davila
United States District Judge

Your Honor:

       I'm R. Rajkumar. I reside in Oggium, Thoraipakkam in Tamil Nadu, India. I'm a physically
handicapped person. I have been facing discrimination since childhood. I was kept aside in every
aspect of society. Apart from physical stress, this has created major mental trauma for me. I wasn't
coming out of the house. I couldn't even do my personal routines without other's help. I required
assistance for everything. I have been neglected every time. I couldn't go to work. I had to depend
on others for money to afford my basic needs. I felt so depressed and literally useless.

      I found out about the Tamilnadu Differently Abled Federation Charitable Trust and their
services. I asked them for assistance. Through them, I got a wheelchair sponsored by Mr. Ramesh
Balwani.

     It was extremely useful. I'm able to move independently. I can look after my needs without
any other support. I can do small scale work and earn for myself. This wheelchair became a life
saver for me.




      I'm extremely thankful to Mr. Ramesh Balwani and the Tamilnadu Differently Abled
Federation Charitable Trust for this huge support. I was obliged and grateful for this help.

                                                                                      Respectfully,
                                                                                       R.Rajkumar
                                                                    No 2/71, Ezhil nagar, Oggium,
                                                                           Thoraipakkam, chennai
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The Honorable Edward J. Davila
United States District Judge

Your Honor:


        I'm G. Krishnamurthy. I reside at Thuraipakkam, Chennai in the Indian state of Tamil Nadu.
I'm a locomotor disabled person. Getting out of the house was a challenging task. I couldn't even
stand without a helping hand. It was very difficult for me to face day to day life. I couldn't do my
personal things without other's aid. There was no support system for me.

     I came to know about tndfc trust and their initiatives. I Approached Tamilnadu Differently
Abled federation charitable trust for support. Through funding from Mr. Ramesh Balwani, the trust
gave me a wheelchair. I'm very happy with this help. I'm now able to move around without any
other assistance. I can take care of myself now. I can work and support my family. I feel
empowered and independent.




       I'm extremely grateful to Mr. Ramesh Balwani for the wheelchair. I thank them for providing
support and assistance without which I couldn't have faced the challenges of life.

                                                                                      Respectfully,

                                                                                  G.Krishnamurthy
                                                                 No. 23/127, ezhil nagar, oggium,
                                                                            thoraipakkam,chennai.
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The Honorable Edward J. Davila
United States District Judge

Your Honor:


        I'm Gowri I reside at oggium, Thoraipakkam in India. I'm a physically handicapped person.
I lack strength to walk, grasp or lift objects. I face difficulty in doing day to day activities by my
own.I faced discrimination in the society and faced negative attitude from other people. I felt
helpless. I couldn't even take care of my own needs. Living was very challenging. I couldn't find
any source of support. Later I approached the tndfc for help.

      Through funding from Mr. Ramesh Balwani, the Trust gifted me a wheelchair. It was very
useful. I'm now able to move freely indoors and outdoors without anybody's help. I can do my
daily activities on my own. I feel so independent and empowered with this assistance.




I am very grateful to Mr. Ramesh Balwani for the wheelchair. Thank you for making me
independent and self-sufficient.

                                                                                        Respectfully,

                                                                                               Gowri
                                                                              Ezhil Nagar, Oggiyum
                                                                             Thoripakkam, Chennai.
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The Honorable Edward J. Davila
United States District Judge

Your Honor:
        I'm Gunasekari. I'm a physically disabled person. Since birth I have needed somebody's
help for living. It was negligence everywhere. I wasn't going out of my house. I couldn't do any of
my personal needs by myself. I was depending on others for everything. It was so depressing.
My family also was struggling to take care of me. I was like a burden to them. I wasn't hired by
anyone for work. I felt so alone in the society. I ran out of options for help.

      I reached out to Tamilnadu Differently Abled Federation Charitable Trust for helping me.
They provided me with great assistance and support to cope up with the challenges. Through Mr.
Ramesh Balwani, I received a wheelchair from them. It was extremely useful. I can now do things
on my own. I can go to places and meet people without anybody's help. I'm able to work and earn
for myself and my family. I'm self-sufficient now.




       I'm much obliged and grateful to the Tamilnadu Differently Abled Federation Charitable
Trust and the donors Mr. Ramesh Balwani for this incredible help. This wheelchair has given me
a new life. I thank the donors for their generosity and kindness. Thankyou for this initiative.

                                                                                     Respectfully,

                                                                                       Gunasekari

                                                                        Kannagi Nagar, Oggiyum

                                                                          Thoraipakkam, Chennai
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The Honorable Edward J. Davila
United States District Judge

Your Honor:


       I'm Vedhavalli. I reside at oggium, Thoraipakkam in Chennai, India. I'm a locomotor
disabled person. I faced a lot of obstacles in my life. Adapting to life with a disability was
challenging. I couldn't face a day without depression. I had to be indoors itself. I had to depend
on others for all activities. I couldn't do my daily routines on my own. I was kept isolated
everywhere. I couldn't support my spouse in looking after the family. I had to depend on others
for money. It was affecting me mentally also. I felt like I was being avoided everywhere.

             I was in search of a helping hand to pull me out of this struggle. I found out about the
Tamilnadu Differently Abled Federation Charitable Trust . I asked them for assistance. They
provided me with a wheelchair through the Mr. Ramesh Balwani fund scheme. This wheelchair
changed my life. I became independent with this. I can do things on my own. I can move around
freely. I can get out of the house and travel everywhere I want. I run a small business now. I can
earn now and support my family. I can take care of my needs.




       I'm extremely grateful to the donors Mr. Ramesh Balwani and the Tamilnadu Differently
Abled Federation Charitable Trust for providing me this wheelchair. I wouldn't be independent and
empowered without this initiative. I thank them for this selfless support and assistance.

                                                                                       Respectfully,

                                                                                         Vedhavalli

                                                                              Ezhil Nagar, Oggium,

                                                                           Thoraipakkam, Chennai
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The Honorable Edward J. Davila
United States District Judge

Your Honor:
        I'm Jayaseeli . I reside at Kannagi nagar in Chennai in the Indian state of Chennai. I'm a
locomotor disabled person. Previously I have been struggling with life every day. I faced a lot of
challenges daily. I wasn't even able to move from one place to another without support. It was
very depressing. I was troubling everyone to do my activities. I was a burden to the whole family.
I had to be indoors. I couldn't go out and socialize. I couldn't go to work and earn for myself. I had
to depend on others financially also. No one was willing to provide me work. I felt discriminated
against everywhere. I was feeling hopeless and isolated. No one was there to support me.

     I came to know about the services of Tamilnadu Differently abled federation charitable trust.
I reached out to them for help. It was a huge relief. They provided incredible assistance
throughout. They brought a feeling of inclusiveness in my life. Through the Mr. Ramesh Balwani
fund initiative, I received a wheelchair from the trust. It was a life changer. I became so
independent with the wheelchair. I'm able to do everything by myself. I can move around, travel
everywhere I want, do my activities, go to work etc. The wheelchair made me self-sufficient. I can
support my family financially now. I no longer need anyone's aid in life. I feel so empowered now.




       I extend my heartfelt gratitude to the Tamilnadu Differently Abled Federation Charitable
Trust and Mr. Ramesh Balwani for this initiative. I thank them for the services they do to help
people like me in society. I thank them sincerely for this effort and assistance.

                                                                                        Respectfully,

                                                                                           Jayaseeli

                                                                           Kannagi Nagar, Oggiyum

                                                                            Thoraipakkam, Chennai
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                                                                                  October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:
I am Appadurai, aged 45. I reside at Saidapet. I run a pushcart selling multiple Household items.
I'm Differently Abled and I have difficulty in walking and a Locomotor Disability. Hence, I couldn't
go to any work. Earlier i worked as a daily wage employee but my health condition became worse.
So I had to sit in the house itself idle.
Only my wife used to work as a housekeeper in nearby houses and looked after my family. The
income was very less. Most of the time we weren't able to meet our day to day needs. I had to go
for a monthly medical checkup and that was also more than we could afford.
As the outbreak of Covid - 19 pandemic began, my wife lost her job. No one was willing to give
work. Life became much harder. It was complete poverty in the family.

There was no food. Available Groceries and all things got over. We were having only one meal a
day. I approached many people for help. But due to the Covid – 19. We were helpless. We were
struggling so much to live..




During the middle of the second Covid - 19 wave, I approached the Tamilnadu Differently Abled
Federation Charitable Trust for help. They were the only support and help for me during the
pandemic time. They provided us with groceries and food items.
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I was given a bunk shop through a grant provided by Mr. Ramesh Balwani and funds to start a
small business. I opened a small shop near my house selling multiple household items because
of which. I earned my daily livelihood.

He was like a life saviour to my family. I could take care of our daily needs because of his support.
I can now feed my family and meet our living expenses and provide education to my children.

I express my gratitude to the donor Mr. Ramesh Balwani and the Tamilnadu Differently Abled
Federation Charitable Trust for the help during the difficult time. Without their help we wouldn’t
have survived.

Now we are able to make a decent living and are able to meet our basic needs. Thank you for
your help and support.




                                                                                       Respectfully,



                                                                                        Appadurai
                                                                     No. 28 p block,Venkatapuram,
                                                                                 Saidapet, Chennai
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                                                                                 October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

I'm K. Rajeswari, aged 57. I reside at Kannagi Nagar, Thuraipakkam. I run a pushcart selling
multiple household items. Previously I used to be a housewife. As Covid - 19 pandemic started,
my husband and my three children lost their jobs. Our income became very low.

It became difficult for us to take care of our day to day needs. We couldn't afford groceries,
vegetables and other home essentials during that period. The men in the family were searching
for other sources of income. But we couldn't manage the living cost. I couldn't afford my medical
bills. It was a hard time for us.

I couldn't go for household work also due to my disabled leg. I ran out of options, where to go for
help? I felt depressed and hopeless.

I approached the Tamilnadu Differently Abled Federation Charitable Trust for some financial
assistance during this period. They provided me with a push cart to start a small business. I
opened a shop selling multiple items near my house. It was a huge help for us.

Unfortunately the second wave of Covid-19 pandemic put more pressure upon me. I was forced
to shut down the shop as there was no sale. The customers were less.

This time the trust connected me with a grant from Mr. Ramesh Balwani. It was very useful. I
reopened my shop and started selling. I was earning more than 500 rupees daily. With this income
I could financially support my family to meet the living expenses. I could pay my medical bills by
myself and take care of my personal needs.
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My heartfelt thanks to the Tamilnadu Differently Abled Federation Charitable Trust & Mr. Ramesh
Balwani for your support and financial assistance. Thank you for helping my family at this crucial
time.



                                                                                    Respectfully,



                                                                                    K.Rajeswari
                                                                         No.324, Kannagi Nagar,
                                                                         Oggiyum Thuraipakkam
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I'm V.Ramesh Kumar, aged 43. I run a small business (a tiffin/tuck shop) for a living.
Previously I was working in a company as a daily wage employee. But due to my vision problem
I couldn't travel and work there. I was searching for other sources of income.

But because of my disability no one was willing to provide me work. I faced a lot of trouble looking
after my family. I couldn't take care of basic requirements like food, medicines etc.

Due to the COVID-19 pandemic there was no work anywhere. Every shop was shut down. I
couldn't afford the living expenses without any income. No one came for help. There was no
support for my family.

The Tamilnadu Differently Abled Federation Charitable Trust came to provide me help and
assistance during this hard time. They provided me with a push cart to begin a small business.

 I opened a tiffin stall near my house. The income was a great relief at that time. I could give a
better life to my family.

I could feed them and take care of their needs.

But the arrival of the second wave gave me more trouble. There was no sale and customers were
less. I couldn't afford to run the shop. I approached the trust for help and they helped me with a
grant from Mr. Ramesh Balwani.

It was very helpful. I reopened my tiffin stall and started running the business. It was a timely help
from the trust. I couldn't have passed through that situation without their help.
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I extend my sincere thanks to Mr. Ramesh Balwani and the Tamilnadu Differently Abled
Federation Charitable Trust for your help and assistance.

It is because of your support that my family survived the pandemic period. I thank Mr. Balwani for
this initiative

                                                                                    Respectfully,



                                                                               V.Ramesh Kumar
                                                     No.1/1457, 1st Street, Solai Amman Nagar,
                                                                          Attamthangal, Redhills
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The Honorable Edward J. Davila
United States District Judge

Your Honor:


       I'm D.Suresh, aged 35. I own a cycle shop in Kannagi Nagar, Tamil Nadu, India. The
outbreak of Covid -19 pandemic caused so much hardship in my life.

During pandemics business went very bad. I couldn't open the shop due to Covid – 19 lockdown.
I couldn't find any other work nearby. No one was ready to provide me work. I faced difficulty in
buying basic requirements like food, medicines etc.

Some days I had to starve without having money to eat. I had no support system. I felt completely
broken and isolated.

Through some sources, I came to know about the Tamilnadu Differently Abled Federation
Charitable Trust and their services. I approached the trust for assistance.

They provided me financial assistance to restart my business. They provided me food, groceries
and other essentials. The second wave of Covid - 19 put more pressure on me. I couldn't not
afford to run the shop regularly. Through the Mr. Balwani family fund, i received a grant.

It was very useful. I reopened my shop. I'm able to earn a decent income and look after my daily
basic needs and expenses.
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I'm thankful for the help from the Tamilnadu Differently Abled Federation Charitable Trust and the
donor, Mr. Balwani.

Without his assistance and support I couldn’t have gotten through the hard time.



                                                                                    Respectfully,



                                                                                     D.Suresh
                                                                      No.13595, Kannagi Nagar,
                                                                         Oggiam, Thuraipakkam
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The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I'm N. Saravanan, aged 44. I run a tiffin stall for a living. Previously I worked in a private
company. Due to the pandemic and subsequent Covid – 19 lockdown, I lost my job. I was
searching for other work near my house as I couldn't travel long distances with my disabled leg.
But I couldn't find any job.

     There was no other savings. I couldn't afford even the basic needs. There was no food. I
was totally broken, and didn't have any idea how to manage the living expenses. There was no
support system.

   I approached Tamilnadu Differently Abled Federation Charitable Trust for helping me.They
provided me loan and a push cart to start a small business. I set up a tiffin stall near my house.

      It was very useful. I earned enough to afford the basic needs like food, other bills with that
income.

But with the second wave of Covid - 19, the customer count became less. I couldn't afford to buy
materials for the shop.

      The trust again helped me with a grant from Mr. Ramesh Balwani and I could restart my
business with that amount. It was very helpful. We wouldn't have survived the pandemic period
but for this help. The trust was very helpful. They provided us groceries and other assistance at
that time.
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     I'm extremely grateful to Mr. Ramesh Balwani for the help and the Tamilnadu Differently
Abled Federation Charitable Trust for the assistance and support.

       I'm thankful for the services and initiatives he takes for helping differently Abled people
like me in the society.



                                                                                    Respectfully,



                                                                                    N.Saravanan
                                                                No. 2/4 Nehru nagar, MA Nagar,
                                                                          Redhills, Chennai - 52
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The Honorable Edward J. Davila
United States District Judge

Your Honor:
        I’m Ram Helan, aged 51. I reside at Thuraipakkam. I run a tiffin stall near Thuraipakkam.
Earlier I used work as a watchman. I lost my job during covid.

     I couldn’t find any other work. As it was pandemic no was willing to give me work

      I had to look after my family. My earning was the only income in the family. Hence this
situation left my family in trouble. We were in total poverty. I couldn’t afford even bark the living
expenses.

    I wasn’t able to buy groceries, vegetables and other home essentials. Even meeting basic
needs was tough. I ran out of option. I felt so depressed and suffocated during that time.

     During the second wave of pandemic, things got even worse. I couldn’t manage the
expenses. I approached the Tamilnadu Differently Abled Federation Charitable Trust where I am
member also, for help.

       They provided me a pushcart and a seed amount to start a small business. I opened a food
stall in Thuraipakkam, my neighborhood, itself.

     With my earning, I could manage the living expenses. I could look after my family’s needs.
I was able to feed my family. It was very helpful for us.
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       I thank the Tamilnadu Differently Abled Federation Charitable Trust and Mr. Ramesh
Balwani for this help.

       We were able to go through that difficult time only because of his support. Thank you so
much for his timely help.



                                                                                  Respectfully,



                                                                                   Ram Helan

                                                   No.4/31, Azhikandeswarar Nagar, 2nd street,
                                                         Oggiyum, Thuraipakkam, Chennai 97
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The Honorable Edward J. Davila
United States District Judge

Your Honor:

     I'm sarasu, aged 35. I reside in Semmancheri. I run a pushcart selling multiple household
items. I used to do housekeeping. But as the Covid -19 pandemic arose, I couldn't find any work.

      My husband also was removed from job in lockdown. We found it very difficult to make the
ends meet. During the lockdown period there was no income. So we couldn't afford the living
expenses. No one was willing to give me work as I'm partially handicapped. My husband was
doing small daily wage works but the earnings were very less. We didn't know where to go for
help. There was no food for some days. It was a tragic situation.

     I have been a member of the Tamilnadu Differently Abled Federation Charitable Trust. I
approached them to help us in this period. They were the only support for us in the lockdown time.

     They provided us with groceries and basic essentials needed at that time. Through a grant
from Mr. Ramesh Balwani, I received seed funds for my small business and a push cart. I opened
a shop nearby my house and sold multiple items.

      During the second wave of Covid - 19, the customers were less. But these funds helped me
to stock the products. This was a huge help. I could look after my family and support my husband
financially. We were able to afford the basic needs and eat proper meal regularly. This financial
support was very much useful for us.
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      I extend my gratitude to the donor, Mr. Ramesh Balwani family and Tamilnadu Differently
Abled Federation Charitable Trust for their initiative and timely help. It is because of Mr. Ramesh’s
help we were able to survive during the pandemic time.



                                                                                       Respectfully,



                                                                                        Sarasu
                                                                 No 1989 TNSCB 5th Cross Street,
                                                                           Semmanjeri, Chennai
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                                                                                October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

     I'm Sankunthala, aged 34. I run a push cart selling multiple items. I have not been doing any
job before. Husband lost his job during Covid – 19 times, I had to search for other source of
income for living.

      As I'm Differently Abled, I couldn't travel long distance for work. So I have been searching
for nearby works. But due to pandemic lockdown there was no job available. Also no one was
ready to give me work considering my disability.

        I had to support my husband financially. There were no groceries, vegetables in the
house. I couldn't feed my children. There was no money to even afford our basic needs.

          Though my husband was doing some daily wage works, the income was very low. We
couldn't afford even the basic living expenses.

         As the second covid wave began, it was much more difficult. Many industries were again
shutting down. As I came to know about the Tamilnadu Differently Abled Federation Charitable
Trust,

        I approached them for help. They provided me a push cart through funding from Mr. R.
Balwani. I opened a small shop near my house.
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       This support helped us a lot during the pandemic time. I earned daily wages. With these
earnings I could help my husband and look after the family. I can take care of my personal and
family needs without depending on anyone. This initiative by the trust and my family during the
Pandemic period.

     I am grateful to Mr. Ramesh Balwani and the Tamilnadu Differently Abled Federation
Charitable Trust for this initiative for helping people like me in the society.

     This help was very much needed and useful. Thankful for their timely help and support.

                                                                                  Respectfully,



                                                                                   Sakunthala

                                                      Gingee Main Road, Poondi Venmpi Post,
                                                          Vikkiravandi, T.K Villupuram District
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                                                                               October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

    I'm R.Kumar aged 42. I reside at Vilupuram. I run am electronic shop there. I'm a TV
mechanic. I have been doing this work for a long time. I'm the only earning person in my family.

       As the pandemic lockdown began, i had to shutdown the shop. There was no money then.
Meeting domestic needs, children's needs, personal needs were becoming difficult. We couldn't
afford to buy groceries. I didn't know where to go for help. We had no money to even take care of
the basic needs.

         I approached Tamilnadu Differently Abled Federation Charitable Trust for help. They
were providing groceries during lockdown period which helped us to have proper food day to day.

          Through Mr. Ramesh Balwani, I received a grant amount with which I opened my shop
and restarted my business. This amount helped me to survive the poverty during the pandemic. I
could earn daily wages. I'm able to take good care of my family. I can afford to give them proper
food and take care of their needs.
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           I’m extremely grateful to Mr. Balwani and the Tamilnadu Differently Abled Federation
Charitable Trust, without them I couldn’t have gone through the pandemic period. I thank them
for being there for us in our difficult time and help us survive.

                                                                                  Respectfully,



                                                                                  R.Kumar
                                                Ranganathan, No.348, Mariyaman Kovil Street,
                                                                            Ural villupuram
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

      I'm Abdul Azeez, aged 28.I run a push cart selling tiffin items. Earlier I used to work in a
private company but due to the pandemic lockdown, I lost my job. I had to search for any other
source of income as I had to look after my family and my parents.

      It was a very difficult time. I couldn't take care of their needs. No one was willing to hire me.
I couldn't pay bills and buy groceries for the house. It was a time of poverty.

      The Tamilnadu Differently Abled Federation Charitable Trust came as a big support for me.
I approached them for help. They connected me with Mr. Ramesh Balwani who provided me with
a grant amount and a push cart.

     I opened a food stall near Anna Nagar. I could earn money each day. As the second wave
of Covid – 19 began; it put more pressure on me.

     I couldn't stock up on things in the shop. The customers were also less.

     At that time also, the trust provided me monetary help then. I was able to sustain afterwards.
I was able to take Care my family's needs and meet the living expenses.
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     I extend my heartfelt thanks to Mr. Ramesh Balwani and the Tamilnadu Differently Abled
Federation Charitable Trust without whom I wouldn't have been able to go through the tough
times. They helped me a lot. I will be forever grateful to them.

                                                                              Respectfully,



                                                                               Abdul azeez
                                               No 2/470 D, Kamarajar 2nd street manthoppu,
                                                                     Vandiyur, Madurai - 20
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

       I'm Valli, aged 32. I reside at Kallakurichi. I run a pushcart selling multiple household items.
My husband left me and my children alone and never returned back home. From then, I myself
have been looking after my family without any support from others. Previously I used to be a daily
wage employee.

     But once the entire burden came into my head, I couldn't afford the living expenses with that
income. I was in search of a better job. But as the covid - 19 pandemic began, I lost that job also.

      My two kids were left alone. We felt isolated. I had no idea how to take care of my children.
I was also in search of household work. But due to

     Covid -19, no one was willing to hire me. We couldn't have a proper meal in a day.

     I couldn't meet the daily needs. I didn't know where to go for help.

     Through some sources, I came to know about the Tamilnadu Differently Abled Federation
Charitable Trust. I approached them for help. They provided food and groceries at the time of
lockdown.

    Through the grant from Mr. Ramesh Balwani, I received seed funding and a pushcart. I
opened a shop nearby my house selling multiple items. This was a great help for us.

     I could take care of children and live independently now. I can provide my children proper
food and look after their education. I can now look after the family by myself. I feel independent
and empowered now.
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     I express my sincere gratitude to Mr. Ramesh Balwani and the Tamilnadu Differently Abled
Federation Charitable Trust for this help and support. Without your support and guidance, I
couldn't have pulled through this difficult time. Thank you.

                                                                                Respectfully,



                                                                                         Valli
                                                                       Thiyagai colony post,
                                                                     Kallakurichi post District
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                                                                                  October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

     I am Valarmathi, aged 45. I reside at Veerapani. I run a pushcart selling multiple house hold
items. Considering my health condition (I have a Locomotor disability), I could not go for any work.
But due to Covid 19 arrival, my husband lost his job. We had many liabilities. We lived in a rented
house.

     We had to pay rent, medical grocery bills, buy domestic essentials for house etc. As there
was no income, we couldn't look after the family.

     My husband searched for another job. But because of the pandemic. There was no work. I
couldn't ask him for money for my personal needs either. It was very difficult. We had no idea. We
were struggling to have two meals a day.

       At the beginning of the second covid - 19 waves, I approached the Tamilnadu Differently
Abled Federation Trust and asked them for help. They were so helpful.

        They did many good things for the disabled peoples during Covid - 19 times. They gave
us groceries for the house. They provided me with a push cart vehicle through a grant from Mr.
Ramesh Balwani. I started a small shop near my house selling multiple items.

        I was able to support my husband and share our financial liabilities. This was so helpful to
me. I don't want to depend on others anymore. I can now take care of my needs by myself. I can
look after the basic needs of family with my income.
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      I express my heartfelt gratitude to the Tamilnadu Differently Abled Federation Charitable
Trust and Mr. Ramesh Balwani for helping us cope up with the difficult time. Because of your help
only we were able to survive the pandemic. Thank you for supporting me.

                                                                                   Respectfully,



                                                                                    Valarmathi
                                                                        No 149. Akrapalayalam,
                                                                         Appalkadu, Veerapani
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                                                                                   October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:


      I'm Suresh, aged 42 and I have a Locomotor disability. I reside at Saidapet. I run a push
cart selling street food (Panipuri) and snacks. Previously I used to work as an auto driver. But due
to my health condition and other personal issues, I could drive anymore. I was in search of other
work.

     As the Covid 19 came, there was no work. I was sitting inside the house itself. I had to take
care of parents also. I couldn't afford the living expenses, parent’s medical expenses and their
needs.

      I had no option. I was approaching everyone for work. But no one hired me because of my
disability. By the end of the first wave, there was complete poverty in my house. There was no
food, had no money to pay bills, and look after basic needs.

      I came to know about the terminal of Tamilnadu Differently Abled Federation Charitable
Trust and their services and approached them for help.

       Through the Mr. Ramesh Balwani family fund initiative, I got a pushcart to start a business.
I set up a street food (Panipuri) stall there which is going well. Through this I could now take care
of my parents and their needs, feed them properly, give them good medical care. I'm able to take
care of the domestic needs of my family and meet the living expenses.
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    I thank Ramesh Balwani for his timely help. You helped us pass through the pandemic times.
Thank you for giving my family a better life. Thank you for your help.

                                                                                 Respectfully,



                                                                                     Suresh
                                                              No 90 samiyar garden, Saidapet
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                                                                                  October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:


       I'm Gayathri aged 33. I have a Locomotor disability and I live at Kannagi Nagar, Tamil
Nadu, India. I run a push cart selling multiple items for living.

     I used to be a housewife. No one was ready to give me work claiming that I wouldn't be able
to work with my disabled hand and leg. My husband was only earning person in the family.

       But his income was not sufficient for us. Financially it was very difficult. My daughter was
studying in private school. But we couldn't afford her school fees. We couldn't afford the monthly
grocery bills, domestic needs and basic needs. As the Covid – 19 began, my husband's earnings
also became low. He was given only half salary.

     Sometimes there will be no work also. It was very hard for us to live. We shifted our daughter
to government school as we couldn't afford her fees. I had no money to look after my personal
needs also.

      I was asking my neighbors for housekeeping work but they didn't give me work. We ran out
of option. I was feeling helpless and isolated.

      Tamilnadu Differently Abled Federation Charitable Trust came to my rescue and was so
helpful during the Covid – 19 times.

       They provided us with all the essential things like groceries. It was because of them we were
able to have a decent meal at that time. Otherwise we would have starved as there was no option
left for buying things. Through Mr. Ramesh Balwani’s financial grant, they gave a push cart vehicle
to start a business.

       I put up a shop selling multiple items near my house. So I could earn. I can support my
husband to run the family. At least I can now take care of my own needs. I can give my child good
care and take care of her needs. We are able to meet our living expenses now.
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     I would like to extend my sincere gratitude to Mr. Ramesh Balwani, without him, we wouldn't
have struggled a lot during the pandemic.

       We are eternally grateful for his help. He uplifted me and my family.

                                                                                   Respectfully,



                                                                                      Gayathri
                                                           No.10/446, Kannagi Nagar, Oggiyum,
                                                                                Thuraipakkam
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                                                                                  October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I'm S.Chitra aged 28. I haven't gone to work before. Considering my health condition as I
have a locomotor disability, no one was willing to give me a job. My father was looking after the
family.
      When the outbreak of Covid – 19 pandemic started, my father lost his job. There was no
income in the family. We started struggling. We faced difficulty in buying things for the house like
groceries, vegetables, and other day to day needs.

      We had no option. I started looking for work but I was helpless. We didn't know what to do.
It was really hard.

      Tamilnadu Differently Abled Federation Charitable Trust agreed to help me.

      Through the Mr. Ramesh Balwani fund scheme initiative I received a pushcart and a small
grant. I opened a small shop near my house. I sell multiple products like tender coconut, snacks,
and plastic items there.

    I could earn a daily income. I can support my family now. I take care of my parents and their
needs. This was a great help during the pandemic. I’m feeling independent and empowered now.




     I would like to thank the Tamilnadu Differently Abled Federation Charitable Trust and the
Mr. Ramesh Balwani family for your help during this difficult time. I’m much grateful for this help.
Thank you so much for supporting me.
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                                                                 Respectfully,



                                                                     S.Chitra
                                             No.638, Kannagi Nagar, Oggiyum,
                                                               Thuraipakkam
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                                                                                  October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

     I'm Aruna, aged 38. I reside at Besant Nagar. I run a push cart selling cool drinks. Previously
Iused to be a housewife. My husband's earnings were the only income we had. But at the time of
Covid - 19, he lost his job.

      There was no work. Financially we were so drained out. All the groceries, vegetables and
food items were getting over day by day and we had no money to restore them. By the end of first
wave of Covid - 19, there was completely no food. We had no money to look after day to day
needs.

     During the time of second wave of covid - 19, I got connected with the Tamilnadu Differently
Abled Federation Trust and through Mr. Ramesh Balwani fund scheme I received a push cart.
We started a cool drink shop near my house. Through this I can support my husband to look after
my family. This was a relief during Covid – 19 times. With this income, I could take care of our
basic needs and requirements.
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      I express my heartfelt thanks to Mr. Ramesh Balwani for helping us at the right time. Without
his service and support, it would have been difficult to survive at that time. I will be grateful to Mr.
Ramesh Balwani and his trust.

                                                                                         Respectfully,



                                                                                             Aruna
                                                       No.47, Velankanni Koil Street, Besant nagar,
                                                                        Yadaikuppam, Chennai 90
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                                                                               October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

     I'm R.Vijaya Lakshmi, aged 43. I have a Locomotor Disability. I run a Vegetable Shop.
Previously I was a housewife. I didn't go to work. But suddenly my husband faced a heart problem
and he couldn't go to work. There was a financial crisis.

      I had to take the responsibility of looking after my family and 3 kids. As the Covid -19
pandemic came, no one hired me for work. We had many liabilities. We had interest to pay in the
bank. There were no food items, groceries, no money to buy medicines. Hospital bills were also
high. I felt hopeless and devastated. My family was in huge poverty.

     While I was going through the peak of poverty, no one was willing to lend me money. I was
searching everywhere for help. It was also the second wave of Covid – 19. Tamilnadu Differently
Abled Federation Charitable Trust rescued me.

     They provided groceries and domestic items during Covid - 19 times. Through the scheme
of Mr. Ramesh Balwani they provided me with a pushcart and a financial grant to start a small
business of my own.

        I opened a vegetable shop near my house. Through this income, I could take care of
family, look after my husband's health. I can take him to checkup monthly. I could meet the daily
living expenses. Above all, I'm now able to live independently without anyone's help.
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      I would like to extend my sincere thanks to Mr. Ramesh Balwani for his help. Thanks to him
for empowering me.

                                                                                   Respectfully,



                                                                            R.Vijaya Lakshmi
                                                               No.104, MPM Street, Vyasarpadi
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

     I’m Kamatchi, aged 36. I run a pushcart selling multiple items. Few years back, I met with
an accident and lost my leg. Before that I used to work as a daily wage employee in a private
company. After the accident, I was bedridden for some time. My husband left me and moved out.

       No one came to help me. I had to look after my 12 years old child. A single mother it was
difficult to survive, especially being Differently Abled. I didn’t know where to go for help. I had no
money for taking care of my medical expenses also.

     As the pandemic began, I was completely broken. There was no work. As a single mother I
had no option left for living. Through some sources, I approached Tamilnadu Differently Abled
Federation Charitable Trust.

        They provided me a Push Cart and a financial grant amount through Mr. Ramesh Balwani
to start a small business. This was a huge help for me. I put up a shop near my house. I could
earn and I can take care of my daughter now. I’m able to look after my health, our basic needs
and requirements.




    I have no words to thankMr. Ramesh Balwani for his help and support. He saved my
daughter and me

                                                                                        Respectfully,
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                                                                    Kamatchi
                                        No.1198, Kannagi Nagar, Thuraipakkam
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:


         My name is K.S Kumar. I’m 47 years old . I reside at Choolaipalayam , Chennai in South
India. I live my wife K. Venda and I have kids - my daughter got married. My son goes to college.

      I run a pushcart, selling multiple items for living. Even with this low income I can barely
meet the needs of my family including the living expenses, my son's college fees, health related
and medical problems etc.

      Few months back, I was not able to open the shop as there was construction work going
round my shop premises.

       I did not have any other source of income. It was a difficult time for my family. We weren’t
able to eat food 3 times.

      The condition pushed us into extreme poverty. I couldn't pay college fees for my son. I
searched for another job. During the outbreak for covid-19 the livelihood of my family was totally
affected as I couldn’t find any other job.

     I lost the hope of getting a better livelihood. I didn’t know where to go for help. I was totally
devastated.

     In this condition, I approached the trust and the organization helped me with a small grant
sponsored by Mr. Ramesh Balwami. With this amount I began to resume my business in K.K.
Nagar.

       I restarted running my shop. I slowly started to cope up with the emerging challenge of
livelihood. I was able to feed my family now. My son started to go back to College. The monetary
help from the organization helped me to bring back my family’s financial stability and contribute
towards the needs of children.

       I’m extremely grateful to the TNDFC Trust & Mr. Ramesh Balwani for helping me. This
helps bring a great change to my family. We will be forever thankful for this help.
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                                                              Respectfully,



                                                              K.S.Kumar
                                     NO 30, DURGAIAMMAN KOVIL, CHENNAI
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                                                                                  October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

       My Name is Devi. I’m 45 years of age. I live with my husband appaji aged 56. We reside
at Perumbakkam in India. We run a small business, a food / Tiffen shop for living.

     We used to only earn a pittance per day. The business didn’t go well.

    As I’m Locomotor disabled, I couldn’t find another source of income. I was struggling to
manage the basic expenses.

    During the lockdown due to pandemic things got harder. We needed to close the shop. It
was extremely hard to meet our day to day needs.

       I had no support system during this difficult time. I was feeling helpless and vulnerable. We
felt isolated.

    Finally I approached the Tamilnadu Differently Abled Charitable Trust for help. The trust
supported us with the initial funding from Mr. Ramesh Balwani. This was very helpful for us.

    We decided to shift our shop to another place. We started our Tiffen stall in Anna Nagar.
Now we could see a difference in the sale. Slowly we were able to better our living.

     The second wave of Covid put more strain on us as there was a decrease in the count of
customers.

     The Trust again supported us with the monetary help from Mr. Balwani. With this amount
we could expand our business. I’m now selling multiple items along with a tiffen shop through this
we could stabilize our financial condition.

     With this help we were able to meet our essential needs like foods, medical needs etc during
the pandemic.
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   We will be always grateful to Mr. Ramesh Balwani & TNDFC Trust for helping us cope up the
hard time. We are now able to live a decent life.

  I can now take care of my medical expenses, contribute to domestic needs and have proper
meals.

                                        Thank you,



                                                                               Respectfully,



                                                                                    S.DEVI

                                                     NO.43, A.K BLOCK, 1ST FLOOR, EZHIL

                                                       NAGAR, PERUMBAKKAM, CHENNAI
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                                                                                   October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:


       My Name is Charles Darwin. I'm 47 years of age. I live with my Wife Saritha age 39 and
kids. My son studies in 11th grade and daughter in 8th grade.

   Both my wife and I are disabled. I struggled very much to look after my family.

    Having a proper meal was difficult for us. I also had to pay my kids' school fees. I used to work
in a private firm.

    But I didn’t get much benefit from it. My earnings were only around Rs.4000 /- per month, with
this amount I had to pay fees, look after my family needs and medical expenses.

   With the outbreak of covid-19, I lost my job. We had no other source of income. It was a very
hard time for us. As both I and my wife are handicapped, we couldn’t go to other household works
also.

 I couldn’t provide proper food to my kids.

    During this situation, I approached the Tamilnadu Differently Abled Federation Charitable
Trust. The trust helped us a lot during this time. They provided us with groceries, vegetables and
other home essentials. Trust provided me with a Push Cart. Money was donated by Mr. Ramesh
Balwani.

   I started a shop selling plastic items. Unfortunately the second outbreak of Covid affected my
business. I couldn’t afford to run the shop. The Trust provided me with a grant from Mr. Ramesh
Balwani. I could earn more than Rs.10,000/-.

   Now I’m able to feed my family, contribute to meet living expenses. I can take care of basic
needs like food, clothing & medicines etc.
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   I extend my sincere gratitude to Mr. Ramesh Balwani and the TNDFC Trust for your timely
help.

  I’m very happy and grateful in receiving funding through the organization.

   I thank Mr. Ramesh Balwani for providing funds for the upliftment of my financial stability and
better our livelihood during hard times.




                                                                                    Respectfully,



                                                                             CHARLES DARWIN

                                                 NO.10892, KANNAGI NAGAR, KARAPAKKAM,

                                                     OGGIYUM THURAIPAKKAM, CHENNAI-97
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I’m Tamilmozhi.S. I’m 36 years of age. I reside at address Thuraipakkam in South India. I
live with my husband Senthil Kumar aged 36 and 2 kids. My son studies in 6th Std and my
daughter studies in 4th Std. Both me and my husband are Locomotor disabled people.

  As we both are disabled people, we couldn’t find a better job in our area. My husband was
doing some small scale work due to our financial crisis.

  I used to earn Rs.200 per day. But it was not sufficient for us. It was hard to get medication
needed for my arms and legs.

 We had lost the hope of getting a better livelihood. I was in a position of adverse financial crisis.

  In this condition I approached the Tamilnadu Differently Abled Federation Charitable Trust. The
organization supported us by providing a pushcart. I started selling tiffin items near my house. But
the Covid pandemic gave us more trouble. It went into a loss. I couldn’t afford to run the shop. I
had to close the shop.

  From Mr. Ramesh Balwani, I received a grant amount. With this amount I reopened my shop.
Now I’m able to earn enough per month.

   The help from Mr. Balwani was very useful. Our business helped us to cope with the emerging
challenges of livelihood.
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I extend my sincere gratitude to Mr. Ramesh Balwani and TNDFC Trust for this initiative.

      We are now able to live a decent life. We can now have proper food, pay fees for our kids,
get proper health care.

      Drastic change happened to our family livelihood. We are much grateful to the sponsors for
helping us.

                                            Thanks a lot




                                                                                   Respectfully,



                                                                               TAMILMOZHI S

                                                           No 3/941, PILLAYAR KOIL STREET,

                                                           METTUKUPPAM, THURAIPAKKAM,

                                                                                CHENNAI – 97.
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                                                                                 October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        My Name is Harikrishnan E aged 48. I reside at Ambathur in Tamil Nadu in South India. I
live with my wife and 2 sons. Both my sons has just finished college and are in search of job.

       I’m a Visually impaired person. At first I went to a food stall called Kelleys selling fried
chicken. I used to earn a small amount per day but because of my blindness issues I couldn’t
continue my business.

       It was very hard for me to look after my family. Due to unemployment I was unable to
contribute to my family needs.

      It was hard to pay any children’s college fees. I wasn’t able to look after my medical
expenses also.

     My livelihood has been impacted since the outbreak of covid-19 and during lockdown and
subsequent economic conditions.

      The pandemic was a great challenge so as to even have proper food. I didn’t have any one
to help. No government scheme reached us for help.

        Finally I approached this Tamilnadu Differently Abled Federation Charitable Trust. The
Trust provided me with a pushcart. I opened a shop selling multiple items.

        But the second wave of pandemic worsened the business. Through Mr. Ramesh
Balwani’s financial grant, I got monetary help. With this amount I could cope up with the losses in
the business and restart the shop. Considering my health, I open the shop for 5 to 6 hours. I can
now earn daily wages.

         I can now give a decent livelihood to my family. Thanks to Mr. Balwani’s generous support,
the organization also helped my family during the 2nd wave of covid-19 by providing provisions
like rice, groceries and other domestic items.

       The monetary help from Mr. Ramesh Balwani helped me restart my business and take
care of medical, food, education and other household expenditure in the family.
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 My family is grateful to Mr. Ramesh Balwani for helping us in the most challenging times.

 I thank him for your assistance and support. I express my sincere gratitude for his activities.



                                                                                  Respectfully,



                                                                           HARIKRISHNAN E

                                                              No. 23, SIVASAKTHI STREET,

                                                        SRINIVASAN NAGAR, AMBETHUR.
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                                                                                October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:


         I’m Gunasekaran P.S. I’m 47 years of age. I reside at TNHB, Semmancheri in Chennai,
India. I live with my wife devayani who is 42 years of age.

        I have a daughter studying in 12th std and one son studying in 4th grade. I have Locomotor
Disability.

      I was doing some small work for a living. But the income was not enough for my family. I
was asked not to come for work due to the fear of the spread of Covid-19.

        Seeing the condition of my family, my kids decided to discontinue their studies and search
for a job. I felt hopeless. I was also not able to look at my medical expenses.

       During my situation the Tamil Nadu Differently Abled Charitable Trust organization decided
to help me with a small grant amount. I started a small business, a tea stall in Semmancheri. The
amount was provided by Mr. Ramesh Balwani through TNDFC Trust.

      Now I earn daily wages. I’m able to earn enough money to pay my children’s school fees.
With this monetary help, my family now eats proper food.

      I sell things at low cost and I provide a variety of tea and homemade biscuits. It’s very
hygienic. Most of the nearby residence drink tea in my shop People from others places also come
to my shop

     Thanks to the generosity or Mr. Balwani, the Trust also helped us during the hard times of
Covid-19. They provided us with groceries and home essentials. This was very useful for us.
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     My family is grateful to the donor Mr. Ramesh Balwani and the Trust for recognizing our
needs and extending a hand of help at the right time. I extend my heartfelt thanks to him for his
support and assistance, without them we would not have survived the hard times.

                                                                                   Respectfully,



                                                                               GUNASEKARAN

                                                               NO 1245, SEMMANJERI, TNHB,

                                                          SHOLLINGANALLUR, CHENNAI 119.
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                                                                                 October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:


       I’m Danakoti, aged 47. I reside at Kannagi Nagar, Karapakkam. I live with my husband
Vijaykumar aged 48. I have two kids.

        Our monthly income was very less. With that amount we could not meet the essential
needs of our family. I have Locomotor disability. I require money for my treatment. My children
were also studying in college.

         My husband was feeling helpless. When the Covid-19 pandemic began, everyone lost
their job. All my concerns were related to any kids educational support and my medical care.

       By god’s grace the TNDFC Trust helped us by providing a pushcart thanks to funding
provided by Mr. Ramesh Balwani.

      We started a small business of food / a tiffen shop. It was very useful. I could take care of
my family. I could look after their basic needs like food, medicines etc.

       During the second outbreak Covid-19, it was very difficult to run the business later.

      Through Mr. Ramesh Balwani family fund scheme I received a grant amount. I reopened
my shop and I could earn profit from the shop.

       I now can earn a daily profit. This initiative by Mr. Ramesh Balwani was very useful for us
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      I thank Mr. Balwani for helping us during the pandemic time and for this financial assistance.
I’m forever grateful to him for always supporting and assisting us.

                                                                                      Respectfully,



                                                                                       DANAKOTI

                                                         NO 9394, KANNAGI NAGAR, CHENNAI
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                                                                                   October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I’m Dayalan, aged 40. I’m Visually Impaired person. I reside at Perumalpattu, Thiruvallur
in India. I live with my wife Bhagyalakshmi aged 39 and my two children.

      Considering my disability it was very difficult for me to look after my family.

      Especially during the period of outbreak of Covid-19, I along with many visually impaired
persons faced a lot of problems in looking after the family expenses. There were houses where
they couldn’t eat 3 meals. I didn’t get any work during the pandemic. I couldn’t take care of my
family needs. I couldn’t buy them their basic needs.

        The trust helped many visually impaired people during Covid-19 period. They helped in
collecting funds from Mr. Ramesh Balwani.

        The TNDFC Trust provided me with a pushcart with these funds. I opened a small
business, a food stall. It was running well. But unfortunately the second wave of the pandemic
troubled my business. The customer count became less. I couldn’t earn much profit.

        The organization supported me with a small grant through the Mr. Ramesh Balwani fund
initiative.

     I was able to bring back any financial status only with the monetary help.

    I now earn wages per month. I could take care of my family needs. I could feed them properly.
I could meet the living expenses.
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      I extend my thanks on behalf of visually impaired persons for the great support they gave
during challenging times. I thank the donor Mr. Ramesh Balwani for your timely help and financial
assistance which was very useful for us.




                                                                                   Respectfully,



                                                                                      DAYALAN

                                                                 NO 1, LAKSHMI VILAS BANK,

                                                            PERUMALPATTU, THIRUVALLUR.
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                                                                                 October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I’m Pramila, 39 years age. I live with my husband Kannan aged 41, and two kids. I run a
fruit and vegetable shop near my house.

     Previously I used to be a housewife. My husband’s income wasn’t enough to run the family.

    We were struggling to make the ends meet. Unfortunately the covid19 pandemic again
bought more trouble to us.

     My husband lost his job. There was no work. We couldn’t afford living expenses.

     We had no money to buy groceries, medicines, food etc. I couldn’t support my husband in
sharing the expenses. I couldn’t find out options to help us from this situation.

     The Tamilnadu Differently Abled Federation Charitable Trust came to us for support. I
approached them to help me. I received a pushcart to start a small business that would help me
earn some income.

      I started a shop selling multiple items. It was very useful. I earned a decent income through
the shop. Unfortunately , the second covid19 wave troubled my sales. The customers became
less.

      The profit became low. I had to shut down the shop. The trust again reached out for
assistance. Through the Bawlani family fund scheme, I received a grant amount.

      I could open my shop again and start running the business. It was a huge help. I could earn
daily wages. Through this I can support my husband financially. I can take care of the needs of
my kids by myself. I no longer need to depend on others for support. I feel independent now.
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    I extend my heartfelt gratitude to Mr. Ramesh Balwani for your assistance and support.
Without their help and guidance, I couldn’t have survived this time. Thank you so much for this
helping hands.

                                                                                  Respectfully,



                                                                                Pramila
                                              NO.9/6, VILLAGE STREET, 2nd LANE MANALI,
                                                               TIRUVALLUR, CHENNAI 68
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                                                                                 October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I’m Mahendaran.v, aged 37. I reside at Shenoy nagar , Chennai in South India. I run a tea
shop, selling tea and snacks items. During the pandemic, the business went so bad. Shop was
closed.

          All purchased items got damaged. My family faced a huge financial crisis. I couldn’t take
care of them. I searched for other works. But no one was ready to hire a handicapped person.

        There was no money to buy food, groceries, medicines, or other essentials. I was totally
depressed and broken. I had no idea how to feed my 3 kids. It was a very struggling period.

        I reached out to the Tamilnadu Differently Abled Federation Charitable trust for help.
They were the only support system for me. The trust provided a big support in the challenging
time.

         They provided us groceries, vegetables etc. through Mr. Ramesh Balwani fund, I received
a grant amount from them. It was very useful. I could get back my business. It has slowly started
to return to normal state.

        I started earning daily. Through this I could look after my family and afford the living
expenses. The help from the trust helped us survive in the pandemic time. I can now provide a
better livelihood to my family.

       I want to thank Mr. Ramesh Balwani for the financial support and the TNDFC trust for the
insights and guidance they provided.
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I’m grateful for your support. I’m much obliged for the support the trust given so far.

                                                                                 Respectfully,



                                                                             Pramila
                                           NO.9/6, VILLAGE STREET, 2nd LANE MANALI,
                                                            TIRUVALLUR, CHENNAI 68
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                                                                                 October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I’m Mohan Raj, aged 16. I’m partially handicapped. I reside at labour colony, guindy. My
father runs a welding shop for a living. But the outbreak of covid-19 pandemic was a challenging
time for us.

     The subsequent lockdown led to the shutdown of my father’s shop. It was a hard time. My
father couldn’t manage our living expenses. There was no money to take care of our basic needs
like food, medicines etc.

   My family was struggling both financially and mentally. We were searching for an alternative
source of income but couldn’t find one. I felt helpless seeing my father struggle to look after us.




      The Tamilnadu Differently Abled Federation Charitable Trust was a support system for us
thanks to funding they got from Mr. Ramesh Balwani. They provided us with food and other basic
essentials for living. We approached them for assistance.

       I received a push cart to start a business that would help us to survive. We started a food
stall near my house. It was a big help for us. Through that income, we could improve our livelihood
in the pandemic.
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    But the arrival of the second wave gave us trouble. We couldn’t afford to run the shop. The
trust helped us with a grant amount. With that amount, we took our business back to normal.

     We could earn profit per day. We are now able to make a decent living, meet our living
expenses and basic needs. I’m grateful to Mr. Ramesh Balwani and the TNDFC trust for you
financial and other assistance.

      This initiative for extremely helpful for my family. We were able to face and cope up with the
challenging pandemic time because of his support and guidance. I’m deeply obliged for this help.



                                                                                      Respectfully,



                                                                                         Mohan raj
                                                                                          GUINDY
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                                                                                 October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

       I’m S. Balachandran ,aged 47. I along with my wife B. Jaya aged 41 are both handicapped
persons. We reside at Thoothukudi in India. I was a daily wage employee. But as the covid19
pandemic began and its resulting economic fallout , I lost my work. It caused significant hardship.
In the early months of the crisis, we faced a lot of difficulty. I could not afford the domestic
expenses. I couldn’t buy groceries and other basic essentials. My wife also couldn’t go for any
work considering her health. Unemployment remained throughout the beginning stage of the
pandemic. We felt isolated in the society. No one came out for help.




      The hardship would have been far worse without the extraordinary steps taken by the
Tamilnadu Differently Abled Federation Charitable trust with the grant they got from a generous
donor, Mr. Ramesh Balwani. They provided us food, groceries and other basic needs and
assistance. We received a pushcart for opening a business.

       We started a food shop near our house. It was very useful for us. We could earn an
income from it. We were able to return back to normalcy. We could look after the living expenses,
pay rent , manage medical bills etc.
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      We are extremely grateful for the assistance the trust provided us in the hardship. I extend
my gratitude to Mr. Ramesh Balwani for his financial support. We wouldn’t have survived the
challenging time without his help.



                                                                                    Respectfully,

                                                                S. BALACHANDRAN & B. JAYA
                                                            361/A1 VADAKKARA COMPOUND,
                                                                   POONTHOTTAM COLONY,
                                                                     NORTH THITTANKULAM,
                                                                 KOVILPATTI, THOOTHUKUDI
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                                                                                  October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:


       I am Dinakaran aged 43. I run a tiffin shop. I'm Blind. Previously I worked as a daily wage
employee in private companies. But due to my vision problem, I couldn't travel. I was searching
for work near my house.

       But with the sudden outbreak of covid-19, I couldn't find any other work. I live alone in my
house. There was no work. I had to pay the rent. It was difficult for me to buy groceries. I had no
money to take care of day to day needs. I felt isolated and helpless. I kept myself in the house for
weeks.




        I came to know about the Tamilnadu Differently Abled Federation Charitable Trust and
the services they do for disabled people like me. I felt like I found somewhere to go for help.

         I approached them. They provided me with a small shop and a grant amount through Mr.
Ramesh Balwani fund initiative to start a business. I sell multiple items. I could earn wages per
day. It was great support from the trust. I can take care of my basic needs by myself. I no longer
need to ask others for work or depend on others for help.

        I thank Mr. Ramesh Balwani for helping me. You came like a savior. I will always be
grateful to him for this initiative. Thank you once again.

                                                                                      Respectfully,

                                                                                      Dinakaran
                                                                              No 787, 9th Street,
                                                                     Datchanamurthy, S.A.Colony,
                                                                                       Vysarpadi
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                                                                                  October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

       I'm G.Ramesh, aged 42. I run a small cooked food shop near my house. I used to live in
a slum area. I had no own house and also couldn't afford a rented house also.

        I ran a shop selling spray paints and also cooked food items. With government aid, I later
shifted to a better neighborhood. I now run a cooked food / tiffin shop near my residential area.
My business was going on an average scale. I couldn't afford to buy items when stock got over.
Some months I had to close the shop as I couldn't purchase the products.

       During Covid– 19 times, I was having so many financial issues. I could even feed my kids.
I ran out of options for looking after my family.I couldn't open my tiffin stall or search for other
sources of money.

     During the pandemic, my business went dull. My income went down. Meeting basic living
expenses was difficult. I couldn't even afford to buy groceries.

       The second wave of Covid– 19 also put so much pressure on us. I struggled a lot. I had
no idea what to do to look after my wife and two kids.

Through some sources, I learnt about Tamilnadu Differently Abled Federation Charitable Trust. I
asked them for help. They gave a great support during pandemic time all thanks to grant money
they received from Mr. Ramesh Balwani.

     They provided groceries and other services helping us to meet living expenses. I received
monetary help from the Mr. Ramesh Balwani fund. This was a huge amount for me. I reopened
my stall and started my business. I renovated my stall and started to sell other items there.
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         I started a street food stall near it. I earn more per day now. I can now lead a decent living.
I'm able to look after my family, domestic needs, kids education, my medical expenses etc.

     I received a lot of help from Mr. Ramesh Balwani during the pandemic. I have no words to
express my gratitude to the donors for helping my family pass through the difficult situation.

                                                                                         Respectfully,



                                                                                        G.Ramesh
                                                        No.43/42,42nd cross street, Kannagi Nagar,
                                                                                     Thuraipakkam
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                                                                                   October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

         I'm Kalpana, aged 37. I reside in India. I run a small cart selling multiple items. I'm a
handicapped person. Previously I worked in housekeeping, in schools etc. But my earnings were
insufficient for our living. Later no one gave me a job saying I couldn't work because of my
disability.

       During the pandemic time, I lost my job. For two years in house only. I had no other source
of income. I had no idea how I would raise my children. My children study in a government school.
My daughter needed to get college admission. I was financially so drained out. We couldn't meet
our basic needs. There was no food. I couldn't look after my health either.




     I had no idea where I would go for help. I later came to know about Tamilnadu Differently
Abled Federation Charitable Trust and their services. It was like a great relief for me. I approached
asking for some loan amount to start a small scale business.
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      They provided me with a small business grant and a pushcart through Mr. Ramesh Balwani
fund initiative. I set up a business near my house selling multiple items. I could now earn profit
per day.

      I could afford our living expenses, meet our basic needs and look after my medical needs
also. I take care of my kids' education, provide them nutritious food.

      I thank the donor, Mr. Ramesh Balwani for helping me through this. I thank him for providing
me with all kinds of support. Without your help this wouldn't be possible. We are forever grateful
for the help.

                                                                                    Respectfully,



                                                                                      Kalpana
                                                         No.44/41kannagi nagar, Thuraipakkam,
                                                                                      Chennai
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                                                                                 October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I'm Malarvizhi, aged 45. I reside at Thoraipakkam in Chennai, India. I run a shop selling
multiple items. I live with my son. My husband left us and moved out. I had to look after the house
and raise my child by myself now. No relatives came to help me. At first i had put a Cooldrinks
shop in Thuraipakkam itself.

      But the income was insufficient to run my family. So I put a stationary shop on the main
road, Thuraipakkam. But I couldn't run my business there also due to some reasons. I had no
other source of income.

      As a single mother, life was very tough for me. I couldn't feed my child. We couldn't have 3
meals properly. The pandemic has created a hard time. I couldn't search for any other job. There
were not groceries, food and other essentials in the house




     The condition was very pathetic. I had no idea what to do with my child. Later i learnt about
Tamilnadu Differently Abled Federation Charitable Trust and approached them for help. The
monetary grant help they got me through Mr. Ramesh Balwani was a great help for me. He funded
me a pushcart also. I started to relaunch my business selling multiple items near my house.
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      During the second outbreak of Covid 19, there was more pressure put on me. My business
went down. I couldn't even purchase the products for sale. He helped me coping these difficulties
with their monetary help. I could balance my living through the pandemic times and meet the
essentials of my family. I could give a decent living for my child.

     I express my sincere gratitude to Mr. Ramesh Balwani without their help me and my son
wouldn't have survived. We will be forever grateful. I thank him for always supporting and helping
me to live. Thank you for your timely help during hard times.

                                                                                    Respectfully,


                                                                                     Malarvizhi
                                                                 Pandiyan nagar, Thuraipakkam,
                                                                                       Chennai
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

       I'm Minalkodi, aged 38. I'm an unmarried woman. I used to sell snacks. But I couldn't earn
much from them.

       I always wanted to expand my business. But being a single handicapped woman, it was
always difficult for me to reach out for help. I had to look after my parents also. I had to meet their
medical expenses and mine as well. During the outbreak of covid19, I couldn't run the business.
I had to shut down my shop. I had nowhere to go for help.

    Through the outbreak of the second wave of pandemic, I was completely shattered. I didn't
know what to do or where to go for help. I couldn't look after my aged parents either.

      I then approached Tamilnadu Differently Abled Federation Charitable Trust for help. They
provided me with a financial grant through Mr. Ramesh Balwani fund initiative. Through this
amount I reopened the stall. I started to sell cooked food items.




      This established my financial situation. I could empower myself through this. I could now
live a decent life, looking after my parents and meet the basic needs of my family.
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        I want to thank the donor, Mr. Ramesh Balwani for the monetary help at the right time. I'm
grateful to him for supporting me and helping me with the difficulties.

     My sincere gratitude to all the helping hands for their kind help.

                                                                                    Respectfully,



                                                                                     Minalkodi
                                                             No 7, Vempuliamman Koil 3rd Street,
                                                                           Pallavaram, Chennai
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                                                                                     October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

         I'm Naiyanar, aged 40. I run a cooked food/ tiffin stall for a living. Previously I worked as a
lift operator in a local college. But as the Covid 19 pandemic arose, I lost my job. I couldn't search
for any other source of income. There was no work. I decided to start my own business.

       I opened a tea stall near my house. But the customer count was very low. I had to shut down
as it was a financial loss. I had no idea what to do. It was a very tough time for me. I couldn't even
buy groceries at home.

     I was sitting indoors without any option. I had to look after my parents also. I couldn't give
them proper food, proper medical treatment and care.




      During the second outbreak of covid 19, the condition became pathetic. No one was willing
to give me a job saying I might not be able to work as I am handicapped. Everyone rejected me.
I asked the Tamilnadu Differently abled federation charitable trust for help. I received a grant and
a shop through Mr. Ramesh Balwani fund initiative.
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     I reopened my cooked food stall. It went well. I could earn sufficient money. I'm able to take
care of parents, look after their needs, and give them good health care.

        I'm very much grateful to the trust and the donor Mr. Ramesh Balwani for the help. Literally
without them I don't know how my family would have survived. Thank you so much for your helping
hands.

                                                                                      Respectfully,



                                                                                       Naiyanar
                                                                      No 107, KK Nagar, Chennai
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                                                                                    October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

       I'm J. Ramesh, aged 62. I run a tea shop near my house premises. I'm Differently Abled.
Previously I worked in a private firm as a daily wage employee. I later worked in a handicap center.
I earned a small amount per day. But the amount of income I earned wasn't enough for me to
raise my family.

        So I shifted to Perungundi. At first I set up a shop selling plastic goods. But the Covid - 19
pandemic brought a huge loss to my business. All my savings was lost with this. It was very
difficult for me. There are SEVEN members in my family including me and I couldn't look after
their needs. During the pandemic, it became difficult for me to search for other jobs also.

         The second wave of pandemic started, I was completely devastated and struggled
without food and basic needs.

          I searched for all kinds of monetary help from the government side to restart my business.
But no one came for help. Finally I approached Tamilnadu Differently Abled Federation Charitable
Trust for funds.

         Through the kind donor, Mr. Ramesh Balwani, I received a shop and monetary help to
start a business. I set up a tea stall selling tea, snacks near my house. I now earn profit per day.
This can fulfill my living expenses and basic needs. The donor also helped us with groceries and
other domestic items during pandemic.
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         I want to thank the donor Mr. Ramesh Balwani for their selfless help. I express gratitude
to the donors for being a helping hand and for lifting my family from poverty.

       I thank him for their services and efforts they put for the people.



                                                                                    Respectfully,



                                                                                    J.Ramesh
                                                                   No 132, Sempon Nagar Street,
                                                                                    Perungudi
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                                                                                   October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I'm Rashul Batsha, aged 33. I reside at Guindy. I'm a handicapped person. I run a pushcart
selling multiple items. Previously I used to work as a daily wage employee.

      But due to some health problems I couldn't work anymore. Later I sold kerchiefs on trains.
But I couldn't earn enough money. My medical expenses were more than I could afford. It was
very difficult for me to live. I was approaching many people for work. But no one hired me because
of my disability. Covid - 19 times was very tough for me.

       The pandemic made my life miserable. There was no work, food and money. I was
completely drained out. I had to look after my parents also. I couldn't buy basic essentials. Meeting
living expenses was tough. I ran out of options for help.

     During the first wave of Covid - 19, I couldn't find any help. It was very difficult to meet day
to day needs. The second wave of the pandemic put more pressure. I was in search of help.

       I Want to start my own business so that I don't depend on others for work. Later I
approached Tamilnadu Differently Abled Federation Charitable Trust and asked them for help.

          They provided me with a grant through Mr. Ramesh Balwani fund initiative and a
pushcart vehicle. This was a huge help during the pandemic. I started a small scale business of
my own. I earn profit per day. I could take care of my health, domestic needs, take care of my
parents and manage a decent living.
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     I thank the donor Mr. Ramesh Balwani for your selfless help during this covid time. I'm
thankful to him for helping me and supporting me.

                                                                               Respectfully,



                                                                             Rashul Batsha
                                                          No. 285/31 Labour Colony, Guindy,
                                                                                   Chennai
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                                                                                     October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:


        I am K.Thangam aged 47. I run a Push Cart business near my residential area. At first, I
resided near Central Railway Station and ran my business. I used to go street by street and sell
products. It was very difficult for me. I could earn little only per day which was insufficient to cover
our daily needs.

     Later we shifted to a new colony. I resumed my business in my colony itself. But the outbreak
of Covid 19 pandemic gave me a very hard time. I couldn't open my stall. I wasn't even able to
search for other sources of income. I struggled to support my family. Meeting basic requirements
was tough. I couldn't take care of my medical expenses also. We couldn't find any other help.

     I approached Tamilnadu Differently Abled Federation Charitable Trust for help and they
connected me with Mr. Ramesh Balwani’s funds. The funds were a helping hand during this
hardship. They provided us monetary help to regain our losses.

     I restarted my shop and began to run the business. Even though customers were less during
Covid- 19 times, I was able to make income to meet living expenses. But the second wave of
Covid 19 pandemic again destroyed our lives.

     The customer count went down. I couldn't stock up on things. During this time, I again
approached the Differently Abled Federation Charitable Trust for help and received a grant
amount from Mr. Ramesh Balwani Fund initiative. This is a great help. I could restock the products
and develop my business. I now sell more products than before.I could now earn more profit per
day.

      I can now fulfill my family's needs and living expenses. I can take care of my health condition
and other medical expenses.
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     I'm forever grateful to Mr. Ramesh Balwani for their timely help. I and my family will always
be thankful to Mr. Ramesh Balwani without whom we wouldn't have survived the tough time. Once
again thankyou for helping us.

                                                                                    Respectfully,



                                                                                    K.Thangam
                                                                       No.15/49, Kannagi Nagar,
                                                                        Oggiyum,Thuraipakkam
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                                                                                October 1, 2022

The Honorable Edward J. Davila
United States District Judge

Your Honor:

        I'm Thangamani, aged 48. I run a small business with a pushcart selling multiple items.
Previously I worked in an export company. But I couldn't travel so long in the bus because of my
health condition. I was also not having my own vehicle. So I couldn't go to work. I couldn't find
any other source of income. I couldn't look after my family. My husband's earnings weren't
enough for our daily needs. I had to go for work to support him.
      During the pandemic, my husband lost his job. We were in trouble. There was no money
even to meet day to day requirements. No one hired me. They didn't give me household work
because of my health conditions.

    The pandemic period was really tough. During the second wave of pandemic, I came to
know about the Tamilnadu Differently Abled Federation Charitable Trust and their services.

      I approached them for help. Through the Mr. Ramesh Balwani fund, I received a grant
amount and a pushcart vehicle. They helped me to start a small business. I put up a shop nearby
my house selling multiple items. I could earn more profit per day now. I can support my family. I
can take care of my medical expenses and other basic needs.
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        I express my sincere gratitude to the donor Mr. Ramesh Balwani for this big help. Thank
you for helping us to cope up with the difficult times. Without your help and support I couldn't be
independent. Thank you.

                                                                                     Respectfully,



                                                                                   Thangamani
                                                       No3/7, Mettu Street, Erankuppam Village,
                                                       old Pammathu kulam, Alamram, Redhills,
                                                                                      Chennai
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                                Sikh Foundation Of Milpitas


                                 1180 Cadillac Court
                              Milpitas, California 95035
                               Phone: (408) 946-1399
                             www.gurdwarasahibmilpitas.org

   IRS EIN: XX-XXXXXXX         California Org. No.: 9766851      Association Reg. No.: 5248


To The Honorable Edward J. Davila

Your Honor,

This is to certify that Ramesh Balwani has been a great supporter and dedicated community
member of the Gurudwara Sahib at Milpitas.

He has solely contributed towards building the much-needed commercial kitchen at the
Gurudwara Sahib. We run a community kitchen feeding hundreds of families every day. The
kitchen has 25 equipment’s and is used to feed 100+ people every day.

Ramesh Balwani has also contributed to build a loft space at the Gurudwara location that is used
by the priests to sleep and take rest. He has supported us by organizing langar (community
kitchen) service at several important occasions for more than a decade.

He is a regular donor to other causes at Gurudwara Sahib and spends hours serving our
community here every weekend. Ramesh’s timely and generous contributions have helped
many struggling families to survive during tough times. His willingness to serve and help the
community is evident in his unshakeable commitment to our families and our organization in
general.

Ramesh’s long-standing unwavering support has helped the Gurudwara in difficult times like
recent pandemic. Despite heavy legal burdens he has never hesitated to support our causes.

His contributions and philanthropy have greatly helped in the establishment and maintenance
of the Gurudwara Sahib.


Thank you,


Dhanwant Dhaliwal
President, Gurudwara Sahib of Milpitas
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                 EXHIBIT 3


EXHIBIT FILED UNDER SEAL
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From:                             Sunny Balwani <                         >
Sent:                             Friday, July 8, 2022 5:12 PM
To:
Subject:                          Re:


Thanks for the note          We were all doing good and honest work - God’s work - so I know at the end of the day He
will sort things out in my favor. Do keep me in your prayers as that’s the best thing. I am grateful for that.

I do remember                           very well. Please pass along my best regards to him.

Thank you again.
Sunny.

From:               <                             >
Date: Friday, July 8, 2022 at 3:13 PM
To: <sunny                   >

Hi Sunny,

I’m sorry about yesterday and hope that you are doing okay. I know that we all genuinely tried to do what was right and
it’s unfortunate that this is how things turned out. I learned a lot working with you and will always be grateful for the
opportunities you gave me.

I learned recently that you went to school in Lahore with one of my uncles -              . He was always very interested
in my work, but we didn’t realize the connection until much later. I know he’s disappointed to hear about this outcome
as well.

I am praying for you and wish you all the best.

Best,




                                                             1
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From:                             Sunny Balwani <                        >
Sent:                             Thursday, July 7, 2022 5:42 PM
To:                               Mona
Subject:                          Re:


Thank you for this note Mona. I am very grateful for it. Thank you.

> On Jul 7, 2022, at 2:20 PM, Mona            <                          > wrote:
>
>
> Hi Sunny,
>
> I'm sad to hear the news today. Things were never perfect at Theranos, but we were always trying our best to do the
right thing. I really believe that you were always trying to do your best too. I'm sorry for how the story has unfolded.
>
> Wishing you the best,
> Mona
>
>
>
>




                                                            1
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Theranos Organization Chart




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